  Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 1 of 80 PageID 337


have a moral, ethical, or religious problem judging an individual and could answer
the two special issues in a way that would lead to a death sentence if supported by
the evidence. (24 RR at 230, 252.)
       3. Prospective Juror Dennis
       Dennis, a forty-four-year-old African American male, was questioned
individually on June 1, 2011. (Ex. 36 at 3 [Dennis Questionnaire]; 29 RR at 5.)
He answered questions from both sides during his individual voir dire before the
State used its twelfth peremptory challenge to remove him from the jury. (29 RR
at 50.) Trial counsel did not object to the State's striking of Dennis.
       During Dennis's individual voir dire and on his questionnaire, he indicated
that he believed in the death penalty and thought it should be used about as
frequently as it had been previously. (Ex. 36 at 6 [Dennis Questionnaire]; 29 RR at
13.) Dennis indicated that whether a person should receive the death penalty
depended on the circumstances of the crime. (29 RR at 13.) Throughout the
process of questioning, Dennis stated several times that he could answer both
special issues in a way that would result in a death sentence as long as the evidence
was there. (Id. at 23-24, 44.) He also stated that he did not have any moral,
ethical, or religious objection to judging another person. (Jd. at 33.)
   D. Comparative Juror Analysis
        An analysis of answers provided by prospective jurors Gonzales, Williams,
and Dennis during their individual voir dire and on their questionnaires reveals that
they provided responses similar to several non-minority venire members accepted
by the State.    This indicates that the State's use of peremptory challenges for
Gonzales, Williams, and Dennis was racially motivated. See Miller-El, 545 U.S. at
241.
        As discussed in the previous section, all three individuals believed in the
death penalty. On their questionnaires, Gonzales and Williams both summarized

                                         142
                                                                                   156
                                     App. 0161
                       •
                       ~-- .


  Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 2 of 80 PageID 338


their death penalty beliefs as, "I believe that the death penalty is appropriate for all
crimes involving murder." (Ex. 38 at 6 [Gonzales Questionnaire]; Ex. 41 at 6
[Williams Questionnaire].) On his questionnaire, Dennis indicated "I believe that
the death penalty is appropriate for some crimes involving murder, and I could
return a verdict which assessed the death penalty in a proper case." (Ex. 36 at 6
[Dennis Questionnaire].) A large number of State-accepted white panelists shared
the same belief, including several who ultimately served on the jury. (See, e.g., Ex.
32 at 6 [Armstrong Questionnaire]; Ex. 33 at 6 [Base Questionnaire]; Ex. 34 at 6
[Cantrell Questionnaire].)
      Additionally, Williams and Dennis both answered that they believed the
death penalty should be used as a punishment for crime about as frequently as it
has been previously. (Ex. 41 at 6 [Williams Questionnaire]; Ex. 36 at 6 [Dennis
Questionnaire].) Although Gonzales answered he thought it should be used "less
frequently," he explained during his individual questioning that his answer was
based on the belief that prisoners were locked up "alone." (Ex. 38 at 6 [Gonzales
Questionnaire]; 16 RR at 106-07.) Many of the white panelists accepted by the
State answered identically to Williams and Dennis, including several who
ultimately served on the jury. (See, e.g., Ex. 32 at 6 [Armstrong Questionnaire];
Ex. 33 at 6 [Base Questionnaire]; Ex. 34 at 6 [Cantrell Questionnaire]. In fact, two
white jurors who were accepted by both sides and served on the jury believed the
death penalty should be used "less frequently."              (Ex. 37 at 6 [Ferianc
Questionnaire]; Ex. 39 at 6 [Olson Questionnaire].)
      Furthermore, the three minority panelists in question were not more strongly
in favor of life without parole as a sentence than white panelists accepted by the
State. When describing their view on life in prison without parole, both Gonzales
and Williams agreed that life would be "appropriate in all cases of capital murder."
(Ex. 38 at 5 [Gonzales Questionnaire]; Ex. 41 at 5 [Williams Questionnaire].)
                                          143
                                                                                      157
                                      App. 0162
  Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                            •
                                                           r.
                                                           Page 3 of 80 PageID 339


Several other white panelists the State did not exercise a strike on, including one
who served on the jury, also stated life without parole is "appropriate in all cases of
murder." (See, e.g, Ex. 39 at 5 [Olson Questionnaire].)
      Based on their willingness to consider the death penalty as discussed above,
and further answers provided during individual voir dire, all three prospective
minority jurors were open to considering both the death penalty and life without
parole. Their answers indicated that they did not have a bias for either the State or
the defense. A large number of State-accepted white panelists provided similar
answers, including many who ultimately served on the jury. (See, e.g., Ex. 32 at 5-
6 [Armstrong Questionnaire]; Ex. 33 at 5-6 [Base Questionnaire]; Ex. 34 at 5-6
[Cantrell Questionnaire].)
   E. Deficient Performance and Prejudice
      "One of the most fundamental duties of an attorney defending a capital case
at trial is the preservation of any and all conceivable errors for each stage of
appellate and post-conviction review."          ABA Guidelines, Guideline 10.8
(Commentary) (citing Stephen B. Bright, Preserving Error at Capital Trials, THE
CHAMPION, Apr. 1997, at 42-43). Trial counsel violated this important duty by
failing to raise a Batson challenge when the State used three peremptory challenges
to remove minority prospective jurors Gonzales, Williams, and Dennis. In fact,
trial counsel failed to raise any objections to the removal of these three jurors. As
such, the State was not required to provide a race-neutral reason for its removal of
prospective jurors Gonzales, Williams, and Dennis, making the task of
comparative juror analysis, and appellate review, much more difficult.
      A close analysis of these three prospective jurors indicates that their
qualifications and opinions were similar to those of white venire members accepted
by the State. Trial counsel had possession of each panelist's juror questionnaire
and was present for all of the individual voir dire sessions. Counsel should have
                                         144
                                                                                     158
                                     App. 0163
     Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17    Page 4 of 80 PageID 340


been aware that Gonzales, Williams, and Dennis were similarly situated to white
panelists accepted by the State. Indeed, based on the answers provided by the
three minority prospective jurors during their individual voir dire, it appears that
they fell right in the middle of the road when expressing their views on the death
penalty and life without parole. The striking similarity of their answers with many
State-accepted white panelists should have been observed by trial counsel to reveal
the State's discriminatory motive behind its peremptory challenges to prospective
jurors Gonzales, Williams, and Dennis.
        Trial counsel's failure to object to a racially discriminatory peremptory
strike was objectively unreasonable performance. 18 As discussed in the previous
section, prospective jurors Gonzales, Williams, and Dennis were similarly situated
to other accepted jurors in terms of their qualifications and opinions regarding the
death penalty. There is a reasonable probability that the State would not have been
able to provide a race-neutral reason for their removal from the jury. This failure
to object left Hummel with a constitutionally-infirm jury; a malady that can only
be remedied by a new trial. See Robbins, 528 U.S. at 285; Strickland, 466 U.S. at
694; Ex parte Ellis, 233 S.W.3d at 329-30.
                                CLAIM TWELVE
      HUMMEL'S DEATH SENTENCE SHOULD BE VACATED BECAUSE
     THE PUNISHMENT PHASE JURY INSTRUCTION RESTRICTED THE
       EVIDENCE TilE JURY COULD DETERMINE WAS MITIGATING

        The "Eighth and Fourteenth Amendments require that the sentencer, in all
but the rarest kind of capital case, not be precluded from considering, as a
mitigating factor, any aspect of a defendant's character or record and any of the
circumstances of the offense that the defendant proffers as a basis for a sentence


18
  To the extent that these arguments should have been raised on appeal, appellate
counsel was ineffective for failing to present them. See Robbins, 528 U.S. at 285.
                                          145
                                                                                  159
                                    App. 0164
  Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 5 of 80 PageID 341


less than death." Lockett, 438 U.S. at 604 (emphasis in original, footnote omitted)
("[A] statute that prevents the sentencer in all capital cases from giving
independent mitigating weight to aspects of the defendant's character and record
and to circumstances of the offense proffered in mitigation creates the risk that the
death penalty will be imposed in spite of factors which may call for a less severe
penalty."). Texas' statute governing capital trials expressly limits the evidence that
a jury may consider mitigating, in violation of this Constitutional mandate.
Therefore, Hummel's death sentence violates his applicable state and federal
Constitutional rights, as well as state statutory law, United State Supreme Court
case law, and state case law, and should be vacated.
   A. The Texas Statute and Hummel's Jury InstruCtions
      Article 37.071 of the Texas Code of Criminal Procedure governs the
instructions given to Texas capital juries. The statute instructs that a trial court
shall submit at least-two issues to the jury: (1) whether there is a probability that
the defendant would commit criminal acts of violence that would constitute a
continuing threat to society; and (2) whether, taking into consideration all of the
evidence, including the circumstances of the offense, the defendant's character and
background, and the personal moral culpability of the defendant, there is a
sufficient mitigating circumstance or circumstances to warrant that a sentence of
life imprisonment without parole rather than a death sentence be imposed. Tex.
Code Crim. Proc. Art. 37.071 §2 (b)(l), (e)(l).
      Regarding this second special issue, the trial court shall also instruct the jury
that if the jury finds a circumstance warranting life, the court will sentence the
defendant to life in prison and the defendant will be ineligible for parole. Id. at §2
(e)(2)(A-B). Further, the court instructs that the jury must answer this question
"Yes" or "No," that it may not answer "No" unless unanimous or "Yes" unless ten


                                         146
                                                                                      160
                                     App. 0165
  Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 6 of 80 PageID 342


or more jurors agree, and that the jurors need not agree on the particular evidence
that is mitigating. I d. at §2 (f)( 1-3).
       Along with these procedural instructions, the Texas statute requires the trial
court to instruct the jury that it "shall consider mitigating evidence to be evidence
that a juror might regard as reducing the defendant's moral blameworthiness."
Tex. Code Crim Proc. Art. 37.071 §2 (f)(4) (emphasis added).              No further
definition of "moral blameworthiness" is provided.        Neither are there further
instructions regarding the relationship of this instruction to the dictates of the
special issue itself.
       As directed by the statute, the trial court in Hummel's case gave the
statutorily required instructions during the punishment phase of trial before the jury
retired to deliberate. (4 CR at 727.) Specifically, the court instructed the jury to
answer Special Issue Number 2: "Whether, taking into consideration all of the
evidence, including the circumstances of the offense, the defendant's character and
background, and the personal moral culpability of the defendant, there is sufficient
mitigating circumstance or circumstances to warrant that a sentence of life
imprisonment rather than a death sentence be imposed." (!d. at 727.) In addition,
the court admonished the jury that in answering Special Issue Number 2, "You
shall consider mitigating evidence to be evidence that a juror might regard as
reducing the defendant's moral blameworthiness." (Jd. at 727.)
   B. Texas' Statute Unconstitutionally Limits the Categories of Evidence a
      Capital-Jury May Find Mitigating and Warrant a Life Sentence
       The Supreme Court has long required that a jury "must be permitted to
'consider fully' . . . mitigating evidence" and that such consideration is
meaningless "unless the jury not only [has] such evidence available to it, but also
[is] permitted to give that evidence meaningful, mitigating effect in imposing the
ultimate sentence." Abdul-Kabir, 550 U.S. at 260. Each juror must have broad

                                              147
                                                                                    161
                                            App. 0166
  Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                            ••
                                                            ~­
                                                            Page 7 of 80 PageID 343


discretion to give impact to the mitigation evidence put forward by the defense and
cannot be limited to certain categories of evidence the State approves as mitigating.
Tennard, 542 U.S. at 285 ("[A] State cannot bar the consideration of ... evidence
if the sentencer could reasonably find that it warrants a sentence less than death.")
(internal quotations omitted); McCleskey v. Kemp, 481 U.S. 279, 304 (1987)
("[T]he Constitution limits a State's ability to narrow a sentencer's discretion to
consider relevant evidence that might cause it to decline to impose the death
sentence.").
      Furthermore, the avenues of mitigation open to a capital jury are not, and
must not be, limited to evidence that relates solely to the defendant's culpability
for the crime, the nature of the crime, or even what the crime says about that
individual defendant. Abdul-Kabir, 550 U.S. at 246 ("[S]entencing juries must be
able to give meaningful consideration and effect to all mitigating evidence that
might provide a basis for refusing to impose the death penalty on a particular
individual, notwithstanding the severity of his crime or his potential to commit
similar offenses in the future."); Hodge v. Kentucky, _U.S. _, 133 S. Ct. 506,
506 (2012) (Sotomayor, J., dissenting from denial of cert.) ("Mitigation evidence
need not, and rarely could, 'explain' a heinous crime; rather, mitigation evidence
allows a jury to make a reasoned moral decision whether the individual defendant
deserves to be executed, or to be shown mercy instead.").           For example, the
Supreme Court has upheld the mitigating potential of evidence that an inmate has
adjusted well in prison leading up to his trial. Skipper, 476 U.S. at 4-5.
      In Skipper, the Court considered evidence that the defendant wished to
present from two jailers and a visitor that the defendant had "made a good
adjustment" in jail. !d. at 3. The Court noted that "there is no question but that
[inferences drawn from the evidence] would be 'mitigating' in the sense that they
might serve 'as a basis for a sentence less than death."' !d. at 4-5 (quoting Lockett
                                         148
                                                                                    162
                                     App. 0167
  Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 8 of 80 PageID 344


v. Ohio, 438 U.S. at 604.). Thus, such evidence could not "be excluded from the
sentencer's consideration." !d. at 5.
      Importantly, the Court noted that evidence regarding Skipper's adjustment in
prison "would not relate specifically to petitioner's culpability for the crime he
committed." !d. at 4; Abdul-Kabir, 550 U.S. at 259 ("Like Penry's evidence,
Cole's evidence of childhood deprivation and lack of self-control did not rebut
either deliberateness or future dangerousness but was intended to provide the jury
with an entirely different reason for not imposing a death sentence."). Yet the
Court found that it could "hardly be disputed" that this evidence's exclusion
"deprived petitioner of his right to place before the sentencer relevant evidence in
mitigation of punishment." Skipper, 476 U.S. at 4, 7 ("[A] defendant's disposition
to make a well-behaved and peaceful adjustment to life in prison is itself an aspect
of his character that is·by its nature relevant to the sentencing determination.").
      Like the defendant in Skipper, Hummel presented to the jury evidence
regarding his background and character as mitigation evidence.           Some of this
evidence related to the conceptualization of mitigation expressed in Wiggins that
"defendants who commit criminal acts that are attributable to a disadvantaged
background ... may be less culpable." Wiggins, 539 U.S. at 535 (quoting Penry v.
Lynaugh) (emphasis added). However, other evidence-i.e., that Hummel had
been a Marine-bore no specific link to his legal or moral blameworthiness for the
crime in question.     Rather, such evidence offered compelling argument that,
although legally and morally to blame for the crime, Hummel was a worthwhile
person who was not deserving of a death sentence. Just as much as evidence that
Hummel's mental health or background contributed to the crime, this type of
evidence held equal potential for jurors to weigh and decide it mitigated Hummel's
overall deservingness of being executed. See Penry v. Lynaugh, 492 U.S. 302, 327
(1989) ("[S]o long as the class of murderers subject to capital punishment 1s
                                          149
                                                                                      163
                                        App. 0168
  Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 9 of 80 PageID 345


narrowed, there is no constitutional infirmity in a procedure that allows a jury to
recommend mercy based on the mitigating evidence introduced by a defendant.").
However, based on the language of Texas' statute, it is unclear how any evidence
of a positive character and worthwhile life, as opposed to a "disadvantaged
background," would be given effect by the jury.
      Because of the statutorily mandated instruction, the jury was precluded from
giving effect to any category of mitigation evidence that did not specifically relate
to Hummel's "moral blameworthiness." For any of Hummel's jurors to have given
full effect to evidence they found warranted a sentence of life, but that did not
reduce Hummel's blameworthiness for the crime, the juror would have had to
violate their instructions. Penry v. Johnson, 532 U.S. 782, 800 (2001). Because,
"[w]e generally presume that jurors follow their instructions," there is a reasonable
probability that the result of Hummel's trial would have been different had a
constitutionally adequate instruction been given. !d. at 799.
   C. Conclusion
      "[W]hen the jury is not permitted to give meaningful effect or a 'reasoned
moral response' to a defendant's mitigating evidence-because it is forbidden
from doing so by statute or a judicial interpretation of a statute-the sentencing
process is fatally flawed." Abdul-Kabir, 550 U.S. at 264. At Hummel's trial, the
jury was prohibited from giving effect to any mitigation evidence that did not meet
a narrowed category of evidence, unconstitutionally limiting their ability to give
that reasoned moral response. Skipper, 476 U.S. at 8 ("The exclusion by the state
trial court of relevant mitigating evidence impeded the sentencing jury's ability to
carry out its task of considering all relevant facets of the character and record of
the individual offender.").
       The Supreme Court previously upheld the validity of the Texas death
penalty statute "on the basis of assurances that the special issues would be
                                        150
                                                                                   164
                                     App. 0169
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 10 of 80 PageID 346


interpreted broadly enough to enable sentencing juries to consider all of the
relevant mitigating evidence a defendant might present." Penry v. Lynaugh, 492
U.S. at 318. Since that time, repeat warnings have been,
      issued from th[ e] Court regarding the extent to which the jury must be
      allowed not only to consider such evidence, or to have such evidence
      before it, but to respond to it in a reasoned, moral manner and to
      weigh such evidence in its calculus of deciding whether a defendant is
      truly deserving of death.
Brewer v. Quarterman, 550 U.S. 286, 296 (2007).
      In this case, the application of the Texas death penalty statute impaired
Hummel's rights to have all mitigating evidence considered by the jury in
assessing whether he deserved a life or death sentence. Penry v. Lynaugh, 492
U.S. at 320 ("[T]he Texas death penalty statute was applied in an unconstitutional
manner by precluding the jury from acting upon the particular mitigating evidence
he introduced."). Therefore, Hummel's death sentence should be reversed.
                              CLAIM THIRTEEN
HUMMEL'S DEATH SENTENCE IS UNCONSTITUTIONAL BECAUSE IT
   WAS ASSIGNED BASED ON TEXAS' ARBITRARY SYSTEM OF
           ADMINISTERING THE DEATH PENALTY

      Because of the prosecutorial discretion established under Texas' system of
administering criminal justice, a vast minority of Texas counties are responsible
for a sizable majority of death sentences assessed over the last thirty-six years.
Both geographic and racial disparities have created a system of capital punishment
in Texas that punishes, not based on the heinousness of a defendant's crime, but on
the irrelevant factors of where he lives and what races were involved in the crime.
Hummel's capital sentence was handed down in the midst of this arbitrary system.
As such, he has been denied his rights under the Sixth, Eighth, and Fom1eenth
Amendments to the United States Constitution.        Hummel's sentence of death
violates his applicable state and federal Constitutional rights, as well as state
                                        151
                                                                                  165
                                    App. 0170
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 11 of 80 PageID 347


statutory law, and United States Supreme Court and state case law and should be
vacated.
   A. Supreme Court Precedent Mandates That the Death Penalty Not Be
      Applied Arbitrarily
      The United States Supreme Court has long held that proceedings
surrounding the imposition of a death sentence must meet a "heightened standard
of reliability" because of the severe and irreversible nature of the death penalty.
Ford v. Wainwright, 477 U.S. 399, 411 (1986) ("This especial concern is a natural
consequence of the knowledge that execution is the most irremediable and
unfathomable of penalties; that death is different."). The Court briefly suspended
the death penalty in Furman v. Georgia during the 1970s based on this heightened
standard. 408 U.S. 238 (1972) (per curiam). The Court rested its decision on the
basis that the lack of guidance and narrowing in a jury's decision of who was to
receive the death penalty created an arbitrariness too cruel and unusual to
withstand constitutional scrutiny. !d. at 309 (Stewart, J., concurring) ("These death
sentences are cruel and unusual in the same way that being struck by lightning is
cruel and unusual.").
      Foil owing Furman, the Court has been careful to weigh a death penalty
sentencing scheme to determine whether there are suitable safeguards to prevent
the arbitrary assignment of death. Woodson v. North Carolina, 428 U.S. 280, 305
(1976) .(noting "the need for reliability in the determination that death is the
appropriate punishment in a specific case").         In finding mandatory death
sentencing unconstitutional, the Court noted that juries will often refuse to convict
defendants because they are deterred from automatically sentencing someone to
death. Jd. at 302. "Instead of rationalizing the sentencing process, a mandatory
scheme may well exacerbate the problem identified in Furman by resting the
penalty determination on the particular jury's willingness to act lawlessly." Id. at

                                        152
                                                                                    166
                                     App. 0171
                      ,.
                      ~'

 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 12 of 80 PageID 348


303. Instead, a death penalty scheme must have "objective standards to guide,
regularize, and make rationally reviewable the process for imposing a sentence of
death." !d.
      In 1976, the Court believed States had developed an answer to the Furman
test that "where discretion is afforded a sentencing body on a matter so grave as the
determination of whether a human life should be taken or spared, that discretion
must be suitably directed and limited so as to minimize the risk of wholly arbitrary
and capricious action." Gregg v. Georgia, 428 U.S. 153, 189 (1976). The Court
held that procedural reforms-such as a bifurcated trial, narrowing of death
eligible crimes, and proportional appellate review-"focus the jury's attention on
the particularized nature of the crime and the particularized characteristics of the
individual defendant" preventing it from "wantonly and freakishly impos[ing] the
death sentence." !d. at 206-07.
      Even those procedures, however, continue to be reviewed for their
effectiveness in preventing the arbitrary assessment of death. Godfrey v. Georgia,
446 U.S. 420, 432-33 (1980) (reviewing the application of Georgia's aggravating
factor that a crime be "outrageously or wantonly vile, horrible or inhuman").
When it can be said that "[t]here is no principled way to distinguish [a] case, in
which the death penalty was imposed, from the many cases in which it was not," a
state's death penalty scheme can no longer be said to be imposing a death sentence
"based on reason rather than caprice or emotion." !d. at 433.
   B. Texas' Death Penalty Scheme Is Unconstitutional
      The Supreme Court upheld Texas' death penalty statute in Jurek v. Texas in
1976. 428 U.S. at 273-74 ("[T]he Texas capital-sentencing procedure guides and
focuses the jury's objective consideration of the particularized circumstances of the
individual offense and the individual offender before it can impose a sentence of
death."). The Court found that Texas' narrowing of death eligible crimes and
                                        153
                                                                                   167
                                     App. 0172
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 13 of 80 PageID 349


bifurcation of the guilt/innocence and penalty trials would likely ensure "the
evenhanded, rational, and consistent imposition of death sentences under law." ld.
at 276. However, even this judgment has been the subject of repeated review to
ensure that the practical effect of Texas's system is not the creation of an arbitrary
assignment of death. See, e.g., Penry v. Lynaugh, 492 U.S. at 328 (invalidating
Texas' statute for failing to instruct juries they may consider mitigating evidence);
Penry v. Johnson, 532 U.S. at 804 (invalidating Texas' supplemental instruction on
mitigation for failing to sufficiently provide a jury the mechanism to consider
mitigation evidence).
        Were a court to review the state of the death penalty in Texas today, it would
find much the same "lightning strike" phenomenon that was found unconstitutional
in Furman. In 2011, Texas had 1,089 murders. Tex. Dep't of Pub. Safety, Index
Crime               Analysis              2011,                available               at
http://www.txdps.state.tx.us/crimereports/11/citCh3.pdf (last visited on May 28,
2013). Yet, only eight death sentences were assessed by Texas juries in 2011.
Tex.    Dep't    Crim.    Justice,   Offenders    on   Death     Row,      available   at
http://www.tdcj.state.tx.us/stat/dr_offenders_on_dr.html (last visited on May 28,
2013). Further, thenumber of d~ath sentences assessed throughout the state has
declined significantly over the three decades. (Id.) Despite being the "capital of
capital sentencing," the numbers show that even in Texas a death sentence is
becoming increasingly rare as a utilized punishment.
        Although Texas juries continue to be guided by the special issues under
Texas law in making a judgment in an individual capital case, there are other
factors at work that mean that Texas' system no longer functions as an
"evenhanded, rational, and consistent imposition of death." Jurek, 428 U.S. at 276.




                                         154
                                                                                       168
                                      App. 0173
     Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17    Page 14 of 80 PageID 350


        1. Geography
         Since 1976, there have been 780 offenders that either have been executed or
are currently housed on death row in Texas. Tex. Dep't Crim. Justice, Death Row
Information, available at http://www.tdcj.state.tx.us/death_row/index.html (last
visited May 22, 2013).      Yet only 119 out of the 254 counties in Texas have
contributed an offender to that list. 19 ld. Seven counties (Bexar, Dallas, Harris,
Jefferson, Nueces, Smith, and Tarrant) accounted for nearly eighty percent of these
offenders.      I d.   Five additional counties (Cameron, El Paso, Lubbock,
Montgomery, and Travis) accounted for another ten percent. Id.
         Texas is not alone in this phenomenon.        Multiple studies conducted
throughout the country have identified geographic discrepancies with the
imposition of the death penalty within a particular state?0 See, e.g., Jules Epstein,
Death-Worthiness and Prosecutorial Discretion in Capital Case Charging, 19
TEMPLE POL. & CIVIL RIGHTS L. REV. 389 (2010) (discussing studies in Arizona,
Pennsylvania, Missouri, and South Carolina); Adam Gershowitz, Statewide Capital
Punishment: The Case For Eliminating Counties' Role in the Death Penalty
(March 2009), available at http://works.bepress.com/adam_gershowitz/5/ (last

19
   Only 119 counties of the 254 have ever sentenced an inmate to death, including
people who are no longer on death row, making up the over 1000 inmates that have
received a death sentence in Texas since 1976. Tex. Dep't Crim. Justice, Number
of Offenders Sentenced to Death From Each County, available at
http://www. tdcj .state.tx. us/death_row/dr_number_sentenced_death_county .html
(last visited May 22, 2013 ).
20
   This, of course, says nothing of the geographic discrepancy identified between
the various states that assess the death penalty. See Jeffrey Kirchmeier,
Aggravating and Mitigating Factors: The Paradox of Today 's Arbitrary and
Mandatory Capital Punishment Scheme, 6 WM. & MARY BILL OF RIGHTS J. 345,
386-87 (1998) ("Because each jurisdiction creates its own death penalty statute,
each statute is unique. The result is that-not only does punishment differ between
death penalty jurisdictions and jurisdictions without the death penalty-significant
discrepancies exist among the death penalty jurisdictions.").
                                           155
                                                                                   169
                                      App. 0174
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                             ••
                                                             ("•,
                                                            Page 15 of 80 PageID 351


visited September 20, 2012). In one study, the authors found that over a four year
period in Missouri, seventy-six percent of cases charged as either murder one,
murder two, or involuntary manslaughter met the statutory definition to be eligible
for the death penalty. Katherine Barnes et al., Place Matters (Most): An Empirical
Study ofProsecutorial Decision-Making in Death-Eligible Cases, 51       ARIZ.   L. REv.
305, 309-11 (2009).      However, only five percent of those ever faced a death
penalty trial. !d. at 3 09. As a result, prosecutors throughout the state made the
decision not to seek death in seventy-one percent of death eligible cases. !d. This
discretion was not spread evenly, though, as prosecutors in St. Louis City and
Jackson County charged capital cases far less frequently (6.5 percent of cases) than
prosecutors in the rest of the state (20 percent). !d. at 344.
      A commission created to study the death penalty in New Jersey similarly
noted concern about "the existence of variability among counties in the application
of the death penalty." New Jersey Death Penalty Commission Report at 43 (Jan.
2007) available at http://www.njleg.state.nj.us/committees/dpsc_final.pdf (last
visited May 26, 2012). The commission considered a hypothetical where:
      The exact same case of a killing occurs in neighboring counties. All
      of the circumstances are the same. In one county the defendant is
      capitally prosecuted, is subject to a penalty trial, and is subject to the
      ultimate outcome of death. In the other county the defendant is not so
      treated; either through a plea bargaining or other processes he receives
      a penalty that is much less harsh.
!d. Although the facts of the hypothetical could be attributed to multiple factors,
the commission was "troubled by the degree to which the geographic location
where the crime was committed appears to affect the ultimate disposition of the
case." !d.
      In Jurek and in Gregg, the Supreme Court considered the issue of whether
prosecutorial discretion in choosing which cases to seek the death penalty created


                                          156
                                                                                      170
                                      App. 0175
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 16 of 80 PageID 352


an impermissible arbitrariness in capital sentencing. Gregg, 428 US. at 199; Jurek,
428 U.S. at 274 ("we reject it for the reasons set out in our opinion today in
Gregg").    The Court determined that this decision-making worked to remove
defendants from the risk of death and did not violate the constitution, as long as the
"decision to impose [a death sentence was] guided by standards so that the
sentencing authority would focus on the particularized circumstances of the crime
and the defendant." Gregg, 428 U.S. at 199. Justice White, in his concurrence,
noted that the decision of prosecutors would likely mirror that of juries in deciding
which cases to seek death based on the seriousness of the offense.
       Absent facts to the contrary, it cannot be assumed that prosecutors
       will be motivated in their charging decision by factors other than the
       strength of their case and the likelihood that a jury would impose the
       death penalty if it convicts. Unless prosecutors are incompetent in
       their judgments, the standards by which they decide whether to charge
       a capital felony will be the same as those by which the jury will
       decide the questions of guilt and sentence.
I d. at 225 (White, J ., concurring).
       Experience of the last thirty-six years has shown that the practical effect of
the use of prosecutorial discretion has not been to narrow the field of death eligible
defendants to the most serious and heinous cases. It stretches credulity to imagine
that the seven counties in Texas that are responsible for nearly eighty percent of
the inmates executed or currently on death row correspondingly have significantly
more heinous crimes occurring than other counties.        Rather, other factors like
ideological beliefs regarding the death penalty, the depth of experience in
prosecuting capital cases, and the available resources (both time and. money) to
prosecute a capital case impact a prosecutor's decision whether the seek the death
penalty. See Gershowitz, Statewide Capital Punishment, at 11-15 (noting various
times prosecutor offices have declined to pursue the death penalty because of
available resources).
                                          157
                                                                                     171
                                        App. 0176
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 17 of 80 PageID 353


      The influence of such factors on the capital system in Texas renders it no
longer the "evenhanded, rational, and consistent" system of imposing the death
penalty the Supreme Court expected it to be in 1976. Jurek, 428 U.S. at 276. The
Court on a prior occasion reversed course in its belief that the Texas system would
work properly in practice. Compare Penry v. Lynaugh, 492 U.S. at 318 ("the facial
validity of the Texas death penalty statute had been upheld in Jurek on the basis of
assurances that the special issues would be interpreted broadly enough to enable
sentencing juries to consider all of the relevant mitigating evidence a defendant
might present") with Jurek, 428 U.S. at 272 (noting the Texas CCA indicated it
would "interpret this second question so as to allow a defendant to bring to the
jury's attention whatever mitigating circumstances he may be able to show"). The
geographic disparities in the imposition of the death penalty in Texas offer equally
compelling grounds to abandon the expectation that prosecutorial discretion can
offer a consistent application of the law. Marbury v. Madison, 1 Cranch 137, 163
(U.S. 1803) ("The government of the United States has been emphatically termed a
government of laws, and not of men.").
    2. Race
      In addition to geography, studies continue to show that race is a motivating
factor behind jury verdicts in capital cases.    David Baldus, et al., Race and
Proportionality Since McCleskey v. Kemp (1 987): Different Actors with Mixed
Strategies of Denial and Avoidance, 39 COLUM. HUMAN RIGHTS L. REV. 143
(2007); Isaac Unah, Choosing Those Who Will Die: The Effect of Race, Gender,
and Law in Prosecutorial Decision to Seek the Death Penalty in Durham County,
North Carolina, 15 MICHIGAN J. OF RACE & LAW 135 (2009) (finding that
prosecutors were more likely to pursue capital cases for white victims than black
victims); Scott Phillips, Racial Disparities in the Capital of Capital Punishment,
45 HOUSTON L.    REV.   807 (2008-2009) (same); Scott Phillips, Continued Racial
                                         158
                                                                                  172
                                    App. 0177
                       ,.
                       ~'
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17          Page 18 of 80 PageID 354


Disparities in the Capital of Capital Punishment: The Rosenthal Era, 50 HOUSTON
L. REv. 131 (2012) (same).
       One study considered the Harris County District Attorney's decisions
regarding the charging of capital cases under the Holmes administration. Phillips,
45 HOUSTON L. REv. at 816, 818. The study found that disparities existed between
the treatment of black and white defendants and victims. ld. at 830. Although
black and white defendants were charged with capital murder at relatively similar
rates, black defendants were more likely to have committed a less serious offense
than their white counterparts. ld. In contrast, black victims were significantly less
likely to prompt a capital charge than white victims. !d. at 834.
      A second study looked at the same factors in Harris County under the
Rosenthal administration to determine if the same racial disparities continued.
Phillips, 50 HOUSTON L. REv. at 134. While this second study revealed that race of
the defendant did not matter under the Rosenthal administration, race of the victim
still proved to be a controlling factor. Jd. at 148. The findings of the second study
suggest that "the death penalty was imposed on behalf of white victims at more
than twice the rate one would expect if the system were blind to race, and ... on
behalf of white   fem~le   victims at more than five times the rate one would expect if
the system were blind to race and gender." Jd. at 150.
      In another study, a random sample of 276 adults were given a file summary
for a triple murder case. Epstein, 19 TEMPLE POL. & CIVIL RIGHTS L. REV. at 407-
08.   The variables in the experiment were 1) some of the group was given a
maximum sentence to allot of life without parole, while others could give a death
sentence and 2) the suspect's name for some was a race-neutral name and for
others was a name traditionally associated with minorities. !d. The results of the
study showed that the verdicts of guilt varied little when only life without parole


                                           159
                                                                                     173
                                       App. 0178
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 19 of 80 PageID 355


was possible, but when the maximum sentence was death the defendants with
traditional minority names were significantly more likely to be found guilty. Jd.
      The existence of racial disparities in capital sentencing can also cut in the
opposite direction, depending on the geographic region of the study. See Barnes,
51 ARIZ. L. REv. at 348. A study of Missouri's death penalty revealed that black
defendants were about a third as likely to face a capital charge as white defendants.
Jd. White defendants were also more likely to have those capital charges go to
trial, while black defendants were more likely to have a jury reject the capital
charge. Jd.
      Regardless of the direction of the disparity, these studies show that race
continues to be a motivating factor behind the imposition of the death penalty-
even if that factor is unconsciously applied. When the law is utilized in such a way
that it becomes more directed at a "particular class of persons," especially in the
context of racial discrimination, the implementation of that law violates an
individual's right to equal protection under the law. See Yick Wo v. Hopkins, 118
u.s. 356, 373 (1886).
   C. Conclusion
      For the foregoing reasons, Texas' death penalty scheme is unconstitutional.
Therefore, Hummel sentence of death should be vacated.
                              CLAIM FOURTEEN
     HUMMEL'S RIGHTS UNDER THE SIXTH, EIGHTH, AND
     FOURTEENTH AMENDMENTS TO THE UNITED STATES
 CONSTITUTION WERE VIOLATED WHEN THE TRIAL COURT WAS
  PROHIBITED FROM INSTRUCTING THE JURY THAT A VOTE BY
       ONE JUROR WOULD RESULT IN A LIFE SENTENCE

      The" 10-12" jury instruction in the Texas capital sentencing scheme violates
Hummel's applicable state and federal Constitutional rights, as well as state


                                        160
                                                                                    174
                                    App. 0179
     Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17     Page 20 of 80 PageID 356


statutory law and state ·case law. Therefore, Hummel's death sentence should be
vacated.
         Under Texas law, up to three special issues are submitted to the jury during
the sentencing phase of a capital trial: (1) whether there is a probability that the
defendant constitutes a continuing threat to society; (2) whether the defendant
actually caused, intended, or anticipated the death of the deceased; 21 (3) and
whether, considering all the evidence, there are sufficient mitigating circumstances
to warrant life without parole rather than death. Tex. Code Crim. Proc. Art. 37.071
§ 2(b )(1 )-(2), (e)(1 ).
         The court shall sentence a defendant to death if jury answers "Yes" to the
first two special issues and "No" to the third special issues. If the jury returns a
"No" answer to either of the first two special issues, a "Yes" to the third special
issue, or if the jury is unable to answer all of the questions submitted to them under
these guidelines, the court shall sentence the defendant to life without parole. Tex.
Code Crim. Proc. Art. 37.071 § 2(g).
         However, the jury is statutorily misinformed about the full impact of the way
it answers these special issues. The jury is instructed that it cannot answer "Yes"
to either of the first two special issues without unanimous agreement and that it
cannot answer "No" to those questions unless at least ten jurors agree. Tex. Code
Crim. Proc. Art. 37.071 § 2(d)(2). Similarly, the jury is to be instructed that it may
not answer "No" to the third special issue without unanimous agreement and that it
may only answer "Yes" if at least ten or more jurors agree. Tex. Code Crim. Proc.
Art. 37.071 § 2(±)(2).       The jury is informed by the judge that if the jury
unanimously finds a mitigating circumstance under the third special issue, the

21
  This second special issue is used in cases where the jury has found a defendant
guilty under the law of parties. Art. 37.071(b)(2). In Hummel's case the jury was
only given the first and third special issues. (4 CR at726-27.)
                                           161
                                                                                     175
                                      App. 0180
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17          Page 21 of 80 PageID 357


defendant will be sentenced to life without parole. Tex. Code Crim. Proc. Art.
37.071 (e)(2). Yet, the jury is not instructed about, and indeed is prohibited from
being informed of, the effect of failure to agree on any of the questions submitted
to them, which also renders a life without parole sentence. Tex. Code Crim. Proc.
Art. 3'7.071 § 2(a)(l).
      Trial counsel filed a pretrial motion to declare the Texas capital sentencing
scheme unconstitutional, including a challenge to the constitutionality ofthe 10-12
instruction, on August 4, 2010. (2 CR at 272-75.) The court denied trial counsel's
motion on April26, 2011. (10 RR at 53.) Despite the pre-trial defense motion that
this statutory "1 0-12" rule would mislead the jury, the trial court instructed the jury
in accordance with the requirements of the statute. Following deliberations, the
jury returned unanimous answers of "Yes" to the continuing threat question and
"No" to the mitigating circumstances question. (45 RR at 94-95.)
      Because this statutory scheme misinforms the jury and brings outside
considerations that impermissibly bear on the jury's verdict, the Texas statute
violates the principles of the Eighth and Fourteenth Amendments, depriving
Hummel of a fair sentencing trial.
   A. The Supreme Court Has Invalidated Jury Instructions That Place An
      Added Burden on the Sentencer Before Finding Mitigating
      Circumstances.
      In Mills v. Maryland, 486 U.S. 367 (1988), the Supreme Court considered a
capital sentencing scheme that required jurors to unanimously agree on mitigating
factors. In the state of Maryland, the capital sentencing jury proceeded through
three sections of a verdict form.     In Section I, the jury was asked to evaluate
whether any of ten aggravating factors was present. Jd. at 385-86. If the jury
unanimously found at least one aggravating factor, it was instructed to move on to
Section II, where it was instructed to mark "Yes" next to any mitigating factors it


                                          162
                                                                                       176
                                      App. 0181
     Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17     Page 22 of 80 PageID 358


unanimously found. Id. at 386-88. The jury was only instructed to move on to
Section III if one of more of the mitigating factors in Section II had been marked
"Yes." 22 Id. at 388. If all the mitigating factors in Section II were marked "No,"
the defendant was sentenced to death. Id. at 389.
         In assessing the constitutionality of this sentencing scheme, the Mills Court
noted that "in a capital case 'the sentencer [tnay] not be precluded from
considering, as a mitigating factor, any aspect of the defendant's character or
record and any of the circumstances of the offense that the defendant proffers as a
basis for a sentence of less than death."' 486 U.S. at 374 (alteration and emphasis
in original) (quoting Eddings v. Oklahoma, 455 U.S. 104, 110 (1982) (quoting
Lockett v. Ohio, 438 U.S. 586, 604 (1978) (plurality opinion))). The Mills Court
held that the Maryland capital sentencing scheme was unconstitutional because a
reasonable jury could have interpreted the jury instructions and the accompanying
verdict form as requiring that the jury should mark "No" next to a mitigating factor
unless the jurors were unanimous, even if all but one of the jurors thought that
factor was present.     See Mills, 486 U.S. at 378-79, 384.      Given this potential
interpretation by a reasonable juror, there was an unacceptable risk that the jury
could be prevented from reaching the balancing stage even if all twelve jurors
believed that some mitigating circumstance was present but could not agree on a
particular mitigating factor. !d. at 384 ("[T]he sentencer must be permitted to
consider all mitigating evidence. The possibility that a single juror could block
such consideration, and consequently require the jury to impose the death penalty,
is one we dare not risk.").



22
   In Section III, jurors were asked to balance the mitigating circumstances marked
"Yes" in Section II against the aggravating circumstances marked "Yes" in Section
I. Id. at 388-89.
                                          163
                                                                                     177
                                       App. 0182
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 23 of 80 PageID 359


       Similarly, in McKoy v. North Carolina the Supreme Court examined a North
Carolina capital sentencing scheme that burdened the ability of a majority of a jury
to reach a life sentence. 494 U.S. 433 (1990). In that case, the requirement that
the jury find the presence of an individual mitigating factor unanimously was
explicit in the statute. !d. at 435. Because the unanimity "requirement prevent[ ed]
the jury from considering, in deciding whether to impose the death penalty, any
mitigating factor that the jury does not unanimously find," the North Carolina
statute violated the Eighth and Fourteenth Amendments "by preventing the
sentencer from considering all mitigating evidence." Id.
   B. Texas' 10-12 Sentencing Scheme Impairs the Ability of a Majority of
      Jurors to Reach a Life Sentence
       Mills and McKoy establish that a jury should not be instructed in a way that
allows a minority of the jury to sway the verdict to a sentence of death. Mills, 486
U.S. at 384 ("The possibility that a single juror could block such consideration, and
consequently require the jury to impose the death penalty, is one we dare not
risk."). Yet the 10-12 rule embodied in the Texas scheme does just this.
      Hummel's jury was asked to consider whether he posed a future danger and
whether any mitigating factors warranted a life sentence. (53 RR at 8-9.) This
situation is best explained with a hypothetical. Suppose that in Hummel's jury,
Jurors one through five wanted to answer "No" to the future dangerousness
question. Under Texas' scheme, they would not have the ten votes needed to
answer the first special issue. In addition, they were instructed that they could not
answer the question without a unanimous "Yes" vote or ten votes of "No." It is a
reasonable probability that these five jurors might be swayed by the seven vote
majority to come to an agreed "Yes" vote, fearing that not answering the question
might result in a mistrial.



                                        164
                                                                                   178
                                    App. 0183
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 24 of 80 PageID 360


       Suppose then, that during deliberations on the second special issue, jurors
six through ten wanted to answer "Yes" to finding mitigating evidence. Again,
their five votes would be short of the ten needed to get a life sentence and would be
subject to pressure from the seven vote majority to agree to a unanimous "No"
vote. Without knowledge that under Texas law a single holdout "No" juror on this
special issue would result in a life sentence, there is a reasonable possibility that
these jurors would change their vote instead of allow what they perceived to be a
mistrial.
       With the jury thus answering the future dangerousness special issue "Yes"
and the mitigation special issue "No" under these circumstances, Hummel would
be sentenced to death. Yet under the hypothetical, ten jurors would have found a
valid statutory reason to grant a life sentence.      Only two jurors would have
answered the special issues in a way that would lead to a death sentence. Yet the
requirement under the statute to instruct that ten votes for each special issue are
needed to answer a special issue, and the simultaneous prohibition under the statute
from telling the jury the truth that a single vote is enough to assign a life verdict,
allows a minority of jurors to rule while impairing the ability of the majority of
jurors to effectuate their desire for a life sentence. This is exactly the risk the
Supreme Court expressed in Mills and McKoy violates the protections of the Eight
and Fourteenth Amendments. Thus, the capital sentencing scheme employed in
Texas is unconstitutional.
   C. The 10-12 Rule Constitutes an Impermissible Outside Influence on Jury
      Deliberations
       In addition to violating the Supreme Court precedent of Mills and McKoy by
giving undue effect to a minority voice in the jury, the effect of Texas' 10-12 rule
creates an impermissible outside influence on jury deliberations. By misleading
jurors as to the result of their failure to reach a unanimous or ten vote agreement,

                                         165
                                                                                     179
                                     App. 0184
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 25 of 80 PageID 361


the statute improperly coerces juries into death sentences on the basis of stimuli
divorced from the merits of the case.
      It is a classic and common feature of American jurisprudence that when a
jury is unable to agree a mistrial may be declared and a new trial held. Arizona v.
Washington, 434 U.S. 497, 509 (1978); Downum v. United States, 372 U.S. 734,
73 6 (1963 ). Yet this option is so costly and cumbersome, the law presumes that
jurors should enter deliberations able to be swayed in their opinion in order to
reach a verdict. Allen v. United States, 164 U.S. 492, 501 (1896). A reasonable
juror should feel the weight of the instructions from the trial court and attempt to
avoid reaching an impasse.
      This concern over having a mistrial understandably rises to new heights in a
capital case. Unlike nearly all other cases, the constitutionally required procedures
and safeguards that take place in a capital trial create an atmosphere in which a
juror is keenly aware of the expense and care being taken. Jurors are told of the
weeks that are spent and the hundreds of veniremen that are questioned in order to
find twelve suitable jurors. They are told to expect (and usually sit through) a long
trial with copious amounts of evidence from lay and expert witness. They are
treated to not one, but two sets of opening argument, closing argument, and jury
instructions. They are led to believe that all manner of experts could be retained at
great expense to testify at the trial. (53 RR at 47.)
      In this setting, a reasonable juror would understandably be loath to be the
cause of a mistrial by failing to reach a verdict. The jurors are then instructed that
they must reach a unanimous (or ten person) vote in order to answer the special
issues in the punishment phase.       Yet, unlike any trials that a juror might be
generally familiar with, under Texas law a verdict will be reached if the jury fails
to answer the special issues during the punishment phase. The law's desire for
unanimity no longer operates.
                                          166
                                                                                     180
                                      App. 0185
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 26 of 80 PageID 362


      However, by intentionally failing to instruct the jury that a sentence of life
without parole will result, even if the jury fails to reach an agreement on any of the
special issues, the statute misleads a juror about the effect of their vote.        A
reasonable juror could, therefore, labor under the impression that a failure to reach
an agreement with the other eleven jurors would result in a costly re-trial. Instead
of operating as an intended incentive to reach a verdict, in a capital case the 10-12
rule creates an outside influence on a juror's deliberation and vote.
   D. Conclusion
      Because of the reasons stated above, the Texas death penalty scheme
violates the Sixth, Eighth, and Fourteenth Amendments of the Constitution. Thus,
Hummel's death sentence was impermissibly obtained and should be vacated.
                                CLAIM FIFTEEN
  HUMMEL IS INELIGffiLE FOR A DEATH SENTENCE BECAUSE OF
                HIS MENTAL IMPAIRMENTS

      Hummel's conviction and sentence of death were unlawfully and
unconstitutionally imposed in violation of his applicable state and federal
Constitutional rights, state statutory law, and United States Supreme Court and
state case law, because his mental impairments rendered him functionally and
developmentally below the requisite level that is subject to execution.
      In Atkins v. Virginia, the Supreme Court held the Eighth Amendment's ban
on excessive and cruel and unusual punishment prohibited the execution of
mentally retarded individuals. The Court determined that society recognized the
lesser moral culpability of criminal offenders with mental retardation, as evidenced
by a national consensus prohibiting the execution of persons with mental
retardation. Because of their diminished culpability, the execution of a person with
mental retardation would not serve any valid retributive or deterrent function.
Furthennore, several factors indicated that persons with mental retardation were at

                                         167
                                                                                     181
                                     App. 0186
                                                         c-·.
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                          ••
                                                         Page 27 of 80 PageID 363


much greater risk of wrongfully receiving a sentence of death. Atkins v. Virginia,
536 u.s. 304, 320-21 (2002).
      The underlying rationale behind the national consensus observed by the
Court was the lesser individual culpability of a person with mental retardation. In
Atkins, the Court noted that persons with mental retardation, by definition, have
"diminished capacities to understand and process information, . . . to engage in
logical reasoning, [and] to control their impulses."     Atkins, 536 U.S. at 318.
Recognizing these cognitive deficits, the Court then held that "the large number of
States prohibiting the execution of mentally retarded ... persons provides powerful
evidence that . . . our society views mentally retarded offenders as categorically
less culpable than the average criminal." Id. at 316. The Court reaffirmed the
importance of decision-making and impulse control on culpability when it
extended immunity from execution to juveniles in Roper v. Simmons. 543 U.S.
551, 571 (2005).
      Next, the Court examined what impact this diminished culpability had on the
legitimate goals of criminal punishment.      Unless the imposition of the death
penalty "measurably contributes" to one or both of the penological goals of
retribution or deterrence, "it is nothing more than the purposeless and needless
imposition of pain and suffering, and hence an unconstitutional punishment."
Enmund v. Florida, 458 U.S. 782, 798 (1982) (internal quotation omitted). The
Court held that the retributive value of punishment "necessarily depends on the
culpability of the offender." Atkins, 536 U.S. at 319. With respect to capital
punishment "the lesser culpability of the mentally retarded offender surely does not
merit that form of retribution."    Id. at 319.   Subjecting persons with mental
retardation to capital punishment similarly did not serve a deterrent purpose. The
deterrent value of punishment is necessarily reduced when an individual's
cognitive and behavioral impairments "make it less likely that they can process the
                                        168
                                                                                   182
                                    App. 0187
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 28 of 80 PageID 364


information of the possibility of execution as a penalty and, as a result, control
their conduct based upon that information." ld. at 320. Executing persons with
mental retardation would also have no deterrent effect with respect to offenders
who are not mentally retarded. !d.
       Finally, the Court reasoned that the reduced capacity of mentally retarded
offenders increases the risk that "the death penalty will be imposed in spite of
factors which may call for a less severe penalty ...." Atkins, 536 U.S. at 320
(internal quotation omitted). Mentally retarded individuals are less able to "make a
persuasive showing of mitigation . . . . are typically poor witnesses, and their
demeanor may create an unwarranted impression of lack of remorse .... " !d. a
320-21.       Mental retardation is often inaccurately viewed by juries as an
aggravating factor, rather than as mitigating. Such defendants are also less able to
give meaningful assistance to their counsel. Each of these factors demonstrated
that persons with mental retardation "face a special risk of wrongful execution."
ld. at 321.
       Hummel suffers from mental impairments that affect him in much the same
way as intellectual disability.    Complex post-traumatic stress disorder, due to
attachment trauma, prevents Hummel from responding and reacting to social
situations and stressors in the way that an average individual would. (Ex. 1 at     ~~

37, 42-42, 52, 57 [Aff. ofDr. Hardesty].)
       Like intellectual disability which requires "significant limitations in adaptive
skills such as communication, self-care, and self-direction," Hummel's mental
impairment left him unable to control his impulses and engage in logical reasoning.
(Ex. 1 at     ~~52,   57 [Aff. of Dr. Hardesty].)    As in Atkins, these cognitive
deficiencies significantly reduce Hummel's moral culpability.          As Hummel's
impairments left him unable to consider the future repercussions of his actions,
there is no deterrent value in his execution.            Further, Hummel's mental
                                          169
                                                                                      183
                                     App. 0188
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 29 of 80 PageID 365


impairments make him susceptible to an enhanced risk of wrongful execution as
they diminished his ability to communicate with counsel and others, and are likely
to be misinterpreted by a jury as an aggravating, rather than a mitigating factor.
      The same concerns that underlie execution of mentally retarded offenders
exist in Hummel's case as well. The imposition of the death penalty would be
grossly disproportionate to Hummel's moral culpability, would not "measurably
advance the deterrent or retributive purpose of the death penalty," and carries an
enhanced risk of error. Atkins, 536 U.S. at 320-21. For these reasons, this Court
should vacate Hummel's death sentence.




                                         170
                                                                                     184
                                     App. 0189
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 30 of 80 PageID 366


                                         IV.
                            PRAYER FOR RELIEF

      WHEREFORE, John William Hummel prays that this Court:
            1. Order an evidentiary hearing for the purpose of examining the
               merits of his claims;
            2. Vacate his death sentence and conviction;
            3. Grant any otherreliefthat law or justice may require.


Respectfully submitted,


DATED:      June 5, 2013                       By  oZ&A~
                                               Robert Romig




                                         171
                                                                                185
                                       App. 0190
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 31 of 80 PageID 367


STATE OF TEXAS                 §

COUNTY OF TARRANT              §

VERIFICATION

        BEFORE ME, the undersigned authority, on this day personally appeared
        Robert Romig, who upon being duly sworn by me testified as follows:


              1.   I am a member of the State Bar of Texas.

             2.    I am the duly authorized attorney for John William Hummel,
             having the authority to prepare and to verify Hummel's Application
             for Post-Conviction Writ of Habeas Corpus.

             3.      I have prepared and have read the foregoing Application for
             Post-Conviction Writ of Habeas Corpus, and I believe all allegations
             in it to be true.



                                             Robert Romig

        SUBSCRIBED AND SWORN TO BEFORE ME on this 5th day of June,
2013.




                                                         :EUZABETH GARZA
                                                      Notary Public, State of Texas
                                                        Mv Commlsslori Expires
                                                           APRIL 29, 2016

                                                    Notal'! · .: . ••' '3(!nd




                                       172
                                                                                      186
                                   App. 0191
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 32 of 80 PageID 368


                          CERTIFICATE OF SERVICE

I, the undersigned, declare and certify that I have served the foregoing Application
for Writ of Habeas Corpus by hand to:

District Clerk
Tarrant County, Texas
401 West Belknap
3rd Floor
Fort Worth, TX 76196
(Original, via hand delivery)

Honorable Ruben Gonzalez
432nd District Court
401 W. Belknap
6th Floor
Fort Worth, TX 76196
(One courtesy copy, via hand delivery)

Helena Faulkner, Asst. Crim. D.A.
Tarrant County District Attorney
Tim Curry Criminal Justice Center
401 West Belknap
Fort Worth, TX 76196
(One copy, via hand delivery)

John Hummel
TDCJ # 999567
TDCJ Polunsky Unit
3872 FM 350 South
Livingston, TX 77351
(One copy, via mail)

      This certification is executed on June 5, 2013 at Austin, Texas.

      I declare under penalty of perjury that the foregoing is true and correct to the
best of my knowledge.




                                         173
                                                                                     187
                                     App. 0192
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 33 of 80 PageID 369



                 AFFIDAVIT OF DR. SUSAN J. HARDESTY

  I, Susan J. Hardesty, state and declare as follows:

  Education and Experience
     1. I, Susan J Hardesty, am the Vice President and Medical Director for
        The Menninger Clinic, in Houston Texas.
     2. I received my medical training at The University of North Carolina at
        Chapel Hill, graduating in 1990 with the degree Doctor of Medicine
        with Honors. I completed Residency in Psychiatry at The Medical
        University of South Carolina ("MUSC"). I am board-certified in
        psychiatry and in forensic psychiatry.
     3. I am licensed to practice medicine in both Texas and South Carolina. I
        have a special interest in hospital psychiatry and forensic psychiatry.
        In my role as Medical Director, I oversee the clinical practice of all
        physicians at The Menninger Clinic.       I am also the administrative
        supervisor of the pharmacy, the social workers and the psychologists
        who practice at the clinic.
     4. In my forensic practice I do both civil and criminal evaluations. At
        MUSC, I was the director of the forensic fellowship. In that role I
        performed or supervised more than 100 criminal evaluations for the
        state of South Carolina. I am familiar with all phases of evaluation for
        criminal responsibility, criminal competencies and mitigation.
     5. In my clinical practice at The Menninger Clinic a major focus of the
        work is in understanding the role of trauma in the lives of people.
        Trauma is a term that includes both physical trauma, such as abuse,
        assault, and physical injury as well as emotional trauma, which
        includes, neglect, emotional abuse, abandonment and other issues of

                                         1
                                                                                   191
                                  App. 0193                     EXHIBIT 1 Page 1
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 34 of 80 PageID 370



        early childhood development. I have presented and published in the
        academic field of trauma and treatment of trauma.
     6. A copy of my resume is attached to this affidavit as Attachment A.
  Examination of John Hummel
  Purpose of Evaluation
     7. I was contacted by the Office of Capital Writs, current post,.
        conviction counsel for John Hummel.        I was asked to perform a
        mental health assessment of Mr. Hummel and diagnose any mental
        illnesses or impairments Hummel suffered during his life and at the
        time of the crime. I was also asked to review and comment upon
        mental health testimony presented by Dr. Antoinette McGarrahan on
        behalf of Mr. Hummel during his capital trial.
     8. I interviewed Mr. Hummel on April 12, 2013 at the Polunsky Unit in
        Livingston Texas. The interview was conducted in the contact
        interview room, at the Polunsky Unit, from 1:15PM to approximately
        4:00PM on the above date.
     9. I also reviewed a number of materials provided by post-conviction
        counsel, including witness affidavits, trial testimony, school and
        medical records, and academic literature. A full list of the materials I
        reviewed can be found as Attachment B.
  Consent
     lO.Mr. Hummel was informed of my identity and affiliation with the
        Office of Capital Writs and the Menninger Clinic. He was informed
        that I was hired to assist in the appeal of his death penalty sentence.
        Mr. Hummel understood the limits and intent of this evaluation and
        agreed to proceed with the evaluation.


                                        2
                                                                                   192
                                 App. 0194                       EXHIBIT 1 Page 2
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17      Page 35 of 80 PageID 371



  Mental Status and Cognitive Evaluations
     ll.I conducted examinations of Mr. Hummel's mental status and
        cognitive function. Mr. Hummel readily cooperated with both
        examinations.
     12.Based on the initial consent, Mr. Hummel's intact mental state, intact
        cognitive examination, and his understanding of the appeal process
        and possible outcomes, I felt that he had full capacity to proceed with
        the interview.
  Background
     13.John Hummel was born on November 4, 1975, in Arlington, Texas.
        His father was John Harold Hummel and his mother was Jackie Lou
        Hummel. John has one sister, Neata Romaine Hummel, who is nine
        years older thap John. He was raised in Pacolet, South Carolina.
        John's family lived on a farm where his father worked in addition to
        his job at Kohler Manufacturing Company. John and Neata were
        socially isolated oh the farm except for school.
     14.John describes his family as very strict and much focused on religion.
        His father was always working and his mother was very strict about
        following the rules. John describes Neata his sister as his primary
        caregiver and felt she was more like a mother to him. His parents used
        corporal punishment to enforce the rules of the family. He did not
        describe the spankings as abusive. However, John's friends and uncle
        describe the style of parenting used by John's parents as extremely
        neglectful and emotionally hurtful.
     15.If John and Neata made noise or disobeyed then they were punished,
        often getting beat with a belt. Neata was hit with a clothes hanger.
        John spent a lot of time isolated in his room with games. When he was
                                        3
                                                                                  193
                                  App. 0195                    EXHIBIT 1 Page 3
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 36 of 80 PageID 372



        angry he would beat up a pillow. John and Neata were not allowed to
        show anger when they were being punished. John recalls receiving
        very little affection as a child, except from Neata.
     16.John's mother especially did not show love to her children, but would
        show affection for other people's children by buying them gifts.
        When asked if he felt depressed to see his mother give expensive gifts
        to her friend's children while denying him and his sister even modest
        items John downplayed this issue.        John seemed very affectively
        disconnected from the content of this question and other questions
        about the incongruity between his view of his family and the views
        others had of the Hummels.
     17.John attended elementary and high school in Pacolet and Jonesville,
        South Carolina. John struggled in school despite having an above
        average IQ. He had a learning disorder that impacted his ability to
        read and spell. This disorder was not formally diagnosed until John
        was in high school. Once he had accommodations made for his
        learning disorder, he was able to pass the high school exit
        examinations. In addition, he was colorblind. This made him the butt
        of many jokes among his peers at school. John minimized the issue of
        teasing and did not elaborate on that issue in our conversation.
     18.During his senior year of high school, John dated a young woman
        named Stephanie Bennett, whom he liked a lot. He integrated himself
        into Bennett's family and believed their relationship would end in
        marriage. At the time, Bennett began to distance herself from John; he
        did not recognize the emotional cues she was giving. She expressed
        surprise that he did not pick up on these cues. John was unable to
        explain the emotional disconnect between himself and Bennett. He
                                         4
                                                                                 194
                                  App. 0196                     EXHIBIT 1 Page 4
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17      Page 37 of 80 PageID 373



        was unsure why the relationship with Bennett failed and what his role
        in the failure of the relationship might have been.
     19 .John described himself as an avid player of Dungeons & Dragons
        during school. He felt very at home in the fantasy world and played
        multiple characters in these games. Friends reported that John often
        tried to emulate their game play.
     20.After high school John began to work at the warehouse of the BMG
        music company. He stated he was doing okay but could not make
        enough money to cover his expenses. He describes an incident in
        which he and his girlfriend came home to find his apartment being
        broken into. Shortly after the incident his family urged him to return
        home. John at this point decided to join the Marines.
     2LJohn described the early part of his career in the Marines as good. He
        did basic training at Parris Island in South Carolina and was chosen to
        work as an intelligence specialist when a training slot in that specialty
        became available. John thrived in the work he was doing and
        interacted well with his colleagues and platoon leaders. His work
        involved reviewing and plotting intelligence data on troop and supply
        movements and positions. He felt he was good at the work and, in
        fact, so good that he felt he was better than some of the newer
        officers.
     22.During the Marines, John began to frequent strip clubs and befriend
        strippers who worked there, believing that they cared for him on a
        personal level. John in fact became obsessed with the relationships he
        formed with the strippers. Again he had a distorted view of the roles
        and relationships he had formed. John also overvalued and emulated
        the style of dress and behavior of his close friends to the point that
                                        5
                                                                                    195
                                  App. 0197                     EXHIBIT 1 Page 5
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                        •
                                                        (j'
                                                       Page 38 of 80 PageID 374



        they found it necessary to bring this to his attention and ask that he be
        his own man.
     23 .John stated he did well until his friends were reassigned and a new
        captain took over, He then got sloppy with his appearance, gained
        weight, was placed in a special weight control unit. Again, John was
        isolated from a support group and was subjected to teasing and
        humiliation. John felt he was treated unfairly during this time because
        it was his belief that the captain took out his dislike of one of John's
        colleagues, who had transferred out of the unit, on John.
     24.John stated that, as he became disillusioned with the new leadership of
        his intelligence group, he got more depressed, gained more weight and
        felt very isolated. At one point, John attempted to go absent without
        leave. He was not away from his base for long but this episode
        resulted in the loss of his security clearance and the work that he
        enjoyed. After losing his role as an intelligence specialist, his
        assignments seemed trivial and he decided not to re-enlist and left the
        Marines with an honorable discharge.
     25.During his visits to the strip clubs John met Lettie Ulbright, a
        homeless woman who was pregnant, and befriended her. John was not
        the father of the child, but he brought her home with him to South
        Carolina when he left the Marines. They lived in a mobile home
        together and John worked at the Kohler Manufacturing Company
        making plumbing appliances. For a while, he and the Ulbright did
        well together. John stopped going to strip clubs and seemed to be
        doing okay. John's sister Neata, however, arranged for Ulbright to
        leave shortly after her baby was born and John again began to drift.


                                        6                                           196
                                  App. 0198                     EXHIBIT 1 Page 6
                       •
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                      •
                                                     Page 39 of 80 PageID 375



     26.John's employment history shows that he changed jobs frequently.
        John worked at a cigarette warehouse, worked as a security guard and
        also worked in a restaurant. During this period, John was spending
        much more time at strip clubs, using marijuana, smoking cigarettes,
        and drinking.      He remained obsessed with fantasy games and
        computer games. Rather than return home and live with his parents,
        John abruptly left South Carolina and moved to Texas.
     27.0nce in Texas he met his future wife, Joy. Joy became pregnant in
        November 2003, and the two were married in early 2004. Their
        daughter Jodi was born in July 2004. According to John, things were
        going pretty well during the first year of his marriage. Money was
        tight; but John was employed at a clothing warehouse and the family
        was getting by. John described work at the warehouse as hard, trivial,
        and at times unfair. John was teased by his coworkers and he felt they
        did not take good care of the work environment, which John believes
        led to him suffering an injury on the job.
     28.0ne day, one of John's coworkers left a box open behind him while
        they were working on the packing line. John stepped back and tripped
        over the box, severely injuring his back. He injured two discs in his
        back, requiring two surgeries which ultimately were not fully
        successful. Following the surgeries, John had constant back and leg
        pain and he could not work.
     29.With John physically unable to work, the family began to struggle
        financially.   This left John increasingly stressed over his family's
        situation. Eventually, John, Joy and Jodi were forced to move into
        Joy's father's home.


                                        7                                        197
                                  App. 0199                     EXHIBIT 1 Page 7
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                        •
                                                       Page 40 of 80 PageID 376



     30.To make matters worse, John was diagnosed with Crohn's disease, a
        type of inflammatory bowel disease that causes intense abdominal
        pain, chronic diarrhea, rectal bleeding, and vomiting. John's case was
        severe enough to warrant surgery: an upper duodenal resection. The
        surgery involved removing a part of the bowel and reconnecting the
        remaining pieces. This type of surgery is debilitating due to the fact
        that there is a period when one cannot eat and then a slow advancing
        of diet. Typically, a single abdominal surgery of this kind requires a
        minimum of six months of recovery time to return to full functioning.
        Multiple surgeries take proportionately longer for a person to feel
        fully well.
     3l.John suffered multiple complications from this surgery. He ended up
        with peritonitis and needed an ostomy with an external bag. He also
        developed blood clots in both arms. After about a year, John had
        healed enough to have the colostomy reversed but still suffered from
        severe leg and back pain. The orthopedic surgeon recommended
        another surgery. But after the significant problems with the bowel
        surgery, and the minimal success of his prior back surgeries, John was
        very frightened of having yet another operation. After refusing the
        operation, the surgeon discharged John, saying he had reached
        maximum medical benefit of treatment and he was expected to return
        to some type of sedentary work. John received a small disability
        settlement but was denied permanent disability benefits. At this point,
        John was unable to lift objects or stand for long periods of time, so he
        no longer could perform manufacturing or warehouse work. Due to
        the family's precarious financial situation, John could not afford work
        {raining to obtain a more skilled job.
                                         8
                                                                                   198
                                  App. 0200                     EXHIBIT 1 Page 8
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17      Page 41 of 80 PageID 377



     32.John again felt helpless and as though he was unfairly treated as a
        result of problems that were beyond his control. Because of his
        medical conditions, John was unable to work for four years. At home,
        John was criticized for not having enough money, for not helping with
        the baby, for not getting a better job; and for not helping more around
        the house. However, John was weakened by his surgeries and medical
        problems, and was in constant pain. He felt both Joy and her father
        did not understand just how weak he was and how difficult and
        painful it was for him perform physical tasks. John underwent five
        significant, invasive surgeries and felt that as he was just beginning to
        fully recover, he was not being supported by his family.
     33.John's medical problems negatively impacted his marriage and life
        with Joy. Joy tried to help, but she did not understand or accept that
        John could not physically do the things he had done in the past. John
        was humiliated by having the ostomy, by the occasional odors, leaks
        and spills. These issues negatively impacted their sexual relationship
        as well. John and Joy required the help of friends for things John
        would normally have been able to provide. Moreover, Joy's father
        was also critical of John's inability to provide for the family and to
        perform certain tasks.
     34.John often felt like he was not cared for, misunderstood, and being
        blamed for things that were beyond his control.
     35.John finally found a job as a security guard, making between 8 to 10
        dollars an hour. He said it was very difficult to support the family on
        that small amount of money so Joy also had to work. John attempted
        to alleviate his stress about the situation his family was in by playing
        computer games and smoking, but was criticized for these activities.
                                        9                                           199
                                  App. 0201                     EXHIBIT 1 Page 9
                     •
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                        •
                                                       Page 42 of 80 PageID 378



     36.Shortly after starting his new job, John met a young woman, Kristie
        Freeze, who worked at a convenience store and the two began
        corresponding frequently. Eventually, John became caught up in the
        belief that he was in a meaningful relationship with Freeze. In fact,
        she did not view her association with John in the same way. After a
        single sexual encounter, Freeze decided to end their relationship,
        leaving John feeling more than ever trapped in a difficult marriage,
        alone, with no emotional support, and no hope for change.
  Discussion
     37.Mr. Hummel has a trauma-related illness that has been lifelong and
        pervasive, and can best be characterized as complex post-traumatic
        stress disorder, due to attachment trauma. "Attachment theory" is the
        psychological construct that one must form secure an emotional
        attachment to a consistent caregiver to be able to develop an
        integrated sense of self and to later be able to form mature, reciprocal
        adult relationships. "Attachment trauma" is the term used to define
        severe disruption of the development of personality and a sense of
        stable emotional self, which occurs when the early childhood
        relationships with mother or other primary caregivers are disrupted
        and/or pathological. Research shows that basic attachment patterns
        that are evident by one year of age are reflected in adult attachment
        disorders.
     38.Dr. Jon Allen describes this as "a stress pile-up model" which
        "predicates childhood adversity as promoting disorder in the face of
        adult stress." And further, in discussing attachment trauma, Dr. Allen
        notes that trauma in this context can best be described as feeling alone
        in the midst of unbearably painful emotions. For a child, physical or
                                       10
                                                                                   200
                                  App. 0202                   EXHIBIT 1 Page 10
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17      Page 43 of 80 PageID 379



        sexual abuse creates fear, and if the abuser is also the caregiver, the
        child has no source of emotional comfort, and therefore is alone and
        afraid. Extensive; consistent neglect from a caregiver provokes the
        same fearful reaction, and a child will similarly feel alone and afraid
        with no recourse as a result of neglectful parenting. Repetitive
        episodes of this type of trauma lead to a very unstable sense of self
        and an attachment in which the child desperately needs the parent to
        survive but at the same time is constantly fearful of abandonment by
        the caregiver. Moreover, the child feels alone and has no recourse for
        easing the fear and finding comfort because the source of comfort is
        also the source of the distress. This creates a very disorganized and, at
        times, dissociative response from the child.
     39.As I reviewed the affidavits apd testimony of the many witnesses who
        have known John and his family, I discerned a clear pattern of
        attachment trauma.
    40.John's parents were very strict and showed him, and his sister, very
        little affection. His mother rarely hugged or comforted John and
        Neata. John's mother was herself a victim of childhood abuse and, in
       what is well known as a sad and vicious cycle, perpetrated abuse on
       her own children. This is commonly seen as the abused parent herself
        does not know how to be a nurturing parent. John's mother was
        described as   ~   disciplinarian and she was not particularly engaged
       with her children's lives. For example, John's learning disability was
        not addressed until he was in high school.           John's father was
        functionally absent from John's life as he was primarily focused on
       his work or satisfying his own needs. John's mother had legal
       problems prior to leaving Texas. John's father had multiple affairs, at
                                        11
                                                                                    201
                                   App. 0203                   EXHIBIT 1 Page 11
                       •
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                        •
                                                       Page 44 of 80 PageID 380



        times in the home. Neata observed one such affair when she caught
        her father with another woman in the family home.
     41. The environment described above has the characteristics of a setting
        in which there would be little safety or security with respect to
        relationships and the formation of secure sense of self and         safe
        attachment patterns. The idea of an emotionally disconnected mother
        with a strict and harshly punitive disciplinary style and a self-absorbed
        father who is frequently absent and indiscreet in his violations of
        familial boundaries is a typical environment in which dysregulation of
        attachment and personality disorder formation is likely to occur.
     42.The impact of this attachment trauma is seen in John's social
        interactions with others in high school, the military, and beyond. John
        was consistently described by friends as passive, withdrawn, quiet,
        guarded, socially inept, slow, and frequently was the butt of jokes.
        John was also very focused on· escapism, as reflected by the amount of
        time he spent playing fantasy role-playing games, watching movies,
        and staying in his room.
     43.John has a very passive and avoidant personality style. He did not
        respond to obviously upsetting situations. He misread social cues. He
        looked for safety in environments he could control. He craved social
        attachment at the same time he did not know how to be a social being.
        The long pattern of teasing and frustrated relationships that he
        experienced throughout his life created a vicious cycle of seeking
        nurturing connections with others, then forming maladaptive
        relationships leading to rejection by the people to whom he we;nt to
        for support.


                                        12
                                                                                    202
                                   App. 0204                   EXHIBIT 1 Page 12
                          i
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17           i
                                                           Page 45 of 80 PageID 381



     44.In the Marines, John seemed to merge his identity with that of his
          close friends, copying their dress, behavior and even personal
          mannerisms. This was severe enough that his friends had to call it to
          his attention. However, this was probably the most successful period
          of his life, as John finally had a group of friends to provide support to
          him. He functioned well as long as he was supported by a sense of
          safe attachment. When his friends in the Marines were discharged,
          John's performance suffered without his support network.
     45.This pattern was repeated when he brought Lettie Ulbright to South
          Carolina after his military service. During the period that they lived
          together, John functioned well. However, when this safe attachment
          was disrupted by his family, John again regressed, bouncing from job
          to job and engaging in unhealthy activities.
     46.The events of John's life leading up to the crime created significant
          feelings of stress, severe illness, the need for nurture, the failure of the
          nurturer and feeling alone without hope-mimicked the original
          attachment trauma John had experienced as a child. However, the
          adult response to the abandonment is rage, anger or flight. John first
          attempted to flee to distractions, like games and smoking, then a
          "better" relationship, then, in anger, he attempted to eliminate the
      J   source of the pain. Not the original parents, but the person(s) who
          should have been his nurturers but who unknowingly recapitulated the
          past pattern.
     47.John believed that the original back injury was the fault of the
          coworkers who teased and ridiculed him, and who themselves did not
          do good work. He blamed the injury on the sloppiness of his
          coworkers.
                                           13
                                                                                         203
                                     App. 0205                     EXHIBIT 1 Page 13
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17      Page 46 of 80 PageID 382



     48. The resulting two back surgenes were unsuccessful, leaving John
        weakened, in constant pain, and unable to work and support his
       , family. His failure to be able to work was not his fault, but he was
        expected by his family to do things which he was unable to do. Thus,
        at a time when John most needed to feel a supportive attachment to
        his wife and family, John instead felt disconnected and rejected.
     49.These feelings ofunfairness were compounded when John developed
        Crohn' s disease. John was forced to undergo abdominal surgery and
        suffered multiple complications, which resulted in John needing an
        ostomy and external bag. This complication furthered John's feelings
        of isolation, incapacitation, and failure.   Moreover, John could not
        work and was denied disability benefits, which meant John's family
        faced significant financial difficulties.
     50.John was able to return to work after four years of unemployment.
       However, the work did not pay enough to alleviate the family's
       financial stresses.
    5l.Amidst this tumultuous backdrop, John met and began a relationship
       with Kristie Freeze. Consistent with his pattern, he misread cues and
       quickly saw this relationship as an escape from the cumulative stress
       of the prior four years. The prospect of safety from ridicule,
       embarrassment and abandonment again clouded his ability to
       accurately judge the nature and context of the relationship and it soon
       failed.
    52.Ultimately, the great weight of the stressors in John's life, which
       mimicked the attachment trauma he experienced as a child, created a
       post-traumatic response in John. The trauma suffered by those with
       attachment trauma is usually the total sense of abandonment and fear
                                         14
                                                                                 204
                                   App. 0206                  EXHIBIT 1 Page 14
                     i
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17        Page 47 of 80 PageID 383



        that occurred in early childhood. With any type of trauma, the
        hallmark of having a post-traumatic reaction is that responses become
        conditioned to the highest level of emotional valence reached in the
        past. This essentially means that a small event or series of events may
        trigger an emotional response that is hugely disproportionate to what
        would be expected from the event. The fight or flight mechanism of
        the body is activated. It is well known that this is an emotion driven
        response driven in the brain by the limbic system (that part of the
        brain that mediates emotional response) and the necessity of attaining
        safety literally causes the slower, cortical brain (thinking and logic) to
        be bypassed.
     53.Here, John's feelings of fear and being alone were the results of the
        series of severe and painful medical conditions and procedures. These
        feelings then likely started a chain of events that repeatedly triggered
        stressful reactions. In addition to the physical pain, stress and distress,
        John's sense of being unjustly injured and misunderstood by his
        family continuously recapitulated the emotional distress of his
        childhood. The combination of feeling belittled by his inability to
        meet his expectations as a man, a father and provider and the
        termination of his escapist relationship with Freeze culminated in a
        very disorganized and self-defeating strategy that is typical in a severe
        stress response. The clumsiness of John's later actions and his rage
        are consistent with the disproportionate emotional valence of the
        trauma response.
     54.In post-trauma responses, there is a dissociative quality and often a
        frank dissociative episode inherent in the response. Dissociation is
        evident in the details of this crime, the emotional blunting that was
                                         15
                                                                                      205
                                   App. 0207                    EXHIBIT 1 Page 15
                    •
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                         •
                                                        Page 48 of 80 PageID 384



        evident in the interview after the event and the seemingly normal and
        unconcerned behavior that he showed immediately after killing his
        family. In John's case, there was not frank dissociation, but there was
        a dissociative quality present in his emotional response.
     55.Many attachment trauma patients describe this dissociative quality as
        watching the events from a distance. They are aware of what is
        happening, but once the immediate fear and rage are discharged, the
        events take on the quality of being like a movie, or a play. There is a
        disconnection from the reality of the tragedy. Emotional blunting is
        often misconstrued as callousness or lack of caring, but this is not
        actually the case. In trauma response, the emotional blunting is
        protective and carries the psychological safety that also has become
        part of the learned response to the severe distress.
     56.In essence, John was disconnected mentally and emotionally from the
        likely outcome of the commission of a serious crime but was relieved
        of the extreme emotional pressure to escape a relationship in which he
        was reliving the emotional trauma of his childhood.         And so, his
        physical escape was as poorly planned and executed as the crime.
        John's former military friend best summarized by saying John was
        "chasing 1999," a time in the middle of John's military service when
        he was surrounded by a network of supportive friends. It is not
        coincidental that this is where John went, in the context of attachment
        trauma and his history. It is the one place where, for a while, John was
        fully accepted, successful, and safe.
  Expert Opinion
     57 .It is my opinion, to a reasonable degree of medical certainty, that John
        Hummel suffered from a form of traumatic illness best summarized as
                                        16                                          206
                                  App. 0208                    EXHIBIT 1 Page 16
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                         •
                                                        Page 49 of 80 PageID 385



        complex post-traumatic stress disorder due to attachment trauma. 1
       John clearly experienced attachment trauma as a result of his parents'
       neglect, physical abuse and social isolation. This trauma is evident
       from John's repeated inability to create secure attachments with
       others, as reflected in his failed romantic relationships and his lack of
       personal success when not surrounded by a support network.
       Ultimately, through no fault of his own, John found himself in a great
       deal of physical pain and financial and emotional stress. However,
       John again felt neglected and abandoned during this vulnerable period
       of his life. As such, John essentially was reliving the attachment
       trauma of his youth, which ultimately resulted in a post-trauma
       response. In trauma, when the adult experiences an event or series of
       events that re-capitulate the childhood trauma, the result is the highly
       charged flight or fight response. The abused child can neither fight
       nor escape, but the adult can. For John, his attempts to escape both
       intellectually and through another relationship were not successful. So
       the passive fear of the infant became the rage of the adult. John
       described that as the unrelenting internal pressure, almost a voice in
       his head, driving him to do something. Another characteristic of this
       type of response is the fact that because one is not operating from the
       rational, thinking part of the brain, but rather from the highly

 1 Complex post-traumatic stress disorder is not formally included in the The
 Diagnostic and Statistical Manual of Mental Disorders, Fourth Edition
 Revised ("DSM-IV-TR"), or the forthcoming fifth edition ("DSM-V-TR").
 It is the subject of much research and much is published in the literature on
 it. Similarly, this disorder is not formally included in the current edition of
 the International Statistical Classification of Diseases and Related Health
 Problems, Tenth Edition ("ICD-1 0"), but it is proposed for inclusion in the
 forthcoming ICD-11.
                                        17
                                                                                   207
                                  App. 0209                     EXHIBIT 1 Page 17
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 50 of 80 PageID 386



        sensitized, emotional part of the brain, careful planning, logic; and
        consideration of the consequences in essence "go out the window."
        The details of the crime and the "escape" are quite consistent with this
        pattern and quite inconsistent with the intellectual level and skills that
        Mr. Hummel possessed.
     58 .It is also my opinion, to a reasonable degree of medical certainty, that
        Mr. Hummel met the criteria set forth in the Diagnostic and Statistical
        Manual of Mental Disorders, Fourth Edition Revised ("DSM-IV-TR")
        for Personality Disorder NOS, with borderline and dependent traits
        and met the criteria for Dysthymia. Dysthymia is a chronic low level
        depression and anxiety often associated with persons who have
        experienced trauma. It is characterized by low mood, low self-esteem,
        low energy or fatigue more days than not.
 Future Risk of Violence
     59.While Mr. Hummel has committed a serious and violent crime, if one
        considers the psychological components of his history and both his
        past and current level of adaptation to the prison setting, it is my
        opinion, that, the long term risk of further violence is low to moderate,
        particularly in the prison setting. The reason for this opinion is as
        follows: (A) John did not have a significant past history of violence
        until the crime. (B) John's coping style was in fact, until the time of
        the crime, a passive acceptance and denial of the circumstances that
        surrounded him or escape into games, movies, books, etc. (C) John is
        unlikely to have the extreme set of circumstance that were the
        antecedents to the crime, namely financial and familial stressors. (D)
        John will be in a contained environment in which his needs are met,
        but there is not a relational model that would be iterative of
                                        18                                           208
                                   App. 0210                    EXHIBIT 1 Page 18
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                             •
                                                             Page 51 of 80 PageID 387



          attachment. (E) John has established a more informed religious
          attachment than previously, providing greater personal stability.
     60.Mr. Hummel discussed his coping with prison and with the idea of
          being in general population and he has a perspective of acceptance of
          responsibility for his offense while maintaining the best possible use
        of the remainder of his life in a confined setting.


     61.1 have read and reviewed this nineteen page affidavit.


  I declare under penalty of perjury under the laws of the State of Texas that
  the foregoing is true and correct to the best of my knowledge and that this
  affidavit was executed on the;2/of May, 2013 in Houston, Harris County,
 Texas.




  Subs7L''fed and sworn to before me on -~----.9----t:Z_?_, 2013.

       j ./JA ~                                          .
       , tf/vM_ z.....,--~---
                                         ...   _:,_· .

 Notary Public, State of Texas




                                         19                                        209
                                    App. 0211                       EXHIBIT 1 Page 19
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17         Page 52 of 80 PageID 388




                            List of Materials Reviewed


  1. Allen, JG Me11~~Iiizing.i11 the Dev.elopftterit:attd.Treatrriel1tbf'~.~~tt~chment
      Trauma. c. 2013
  2. Skodol, AE et. al. Personality Disorders in DSM-5 Section 3, Publication
      Pending. 2013
  3. Testimony of"
        A. Dr. Antoinette Rose McGarrahan
        B. Neata Woody
        C. Raila Scoggins
        D. Linda Jean Petty Pack
        E. Stephanie Ruth Bennett
        F. MarkPack
        G. Christie Gregory Pack
  4. Affidavit of:
        A. Chad Brown
        B. Brian Jeter
        C. Christy Pack
        D. Hail a Adams
        E. Joseph "JoJo" Patterson
        F. Lance Dupre
        G. Shana Fowler
        H. Stephanie Bennett
        I. Thomas Hamilton
        J. Efrain Chaidez
        K. George Goodson
        L. Christopher Paris
        M. Tonya Paris
  5. School Records of Jodi Hummel, James F. Delaney Elementary School
  6. School Records of John W. Hummel Spartanburg High School
  7. School Records of John W. Hummel Union County School District
  8. Hummel, Employment Records, Champion National Security
  9. Hummel, Prison clinic records, MHMR Tarrant County
  10. Hummel, Social Security Disability Decision, 2/20/09
  11. Hummel Medical Records, Spartanburg County, 12/09-12/10
  12. Hummel Medical Records, Texas Back Institute
  13. Videotaped interview of John Hummel in California 1/11/10

                                          20                                             210
                                    App. 0212                      EXHIBIT 1 Page 20
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 53 of 80 PageID 389



                        AFFIDAVIT OF LAURA SMITH

I, Laura Smith, state and declare as follows:

Education and Experience

   1.   I received a Bachelor of Arts degree in Psychology from the University of
        Texas at Austin in 1999. I went on to complete a Master's of Science in
        Social Work with a Clinical Concentration in 200 1, also from the
        University of Texas at Austin.
   2.   I am currently employed by Travis County as the supervisor of a team of
        social workers who provide intensive support services to families in need
        through community centers operated by Travis County Health and Human
        Services.   Prior to this, from 2001 to 2003 I worked directly with
        incarcerated fathers, their children, and the caregivers who supported those
        children through a non-profit organization called Family Forward. From
        2003-2011, I worked in counseling and case management of the formerly
        incarcerated as they returned to the community via a non-profit
        organization called Crime Prevention Institute. From 2011-2013, I worked
        in drop-out prevention programs with at risk youth residing in public
        housing through a non-profit organization called Communities in Schools
        of Central Texas.
  3.    I am also an adjunct faculty member at the University of Texas at Austin
        School of Social Work, teaching Theories and Methods of Interventions
        with Groups. I am trained as a Victim/Offender Mediation Specialist and
        an Offender Employment Specialist. I have been licensed by the State of
        Texas as a Licensed Master Social Worker since 2001. In 2012, I received
        my Advanced Practitioner license from the Texas State Board of Social



                                                                                    211
                                     App. 0213                   EXHIBIT 2 Page 1
    Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                                    (~



                                                                      •
                                                                   Page 54 of 80 PageID 390



          Worker Examiners, allowing me to practice independently in the State of
          Texas.
     4.   A copy of my resume is attached to this affidavit.

Involvement in John Hummel's Case

     5.   I was contacted by current counsel for John Hummel and asked to consult
          on his post-conviction habeas corpus proceedings.                Specifically, I was
          asked to provide an explanation of Mr. Hummel's life history and an
          opinion of the elements in that life history that particularly impacted Mr.
          Hummel's development and decision-making.
     6.   To form my opinion, I reviewed various records from Mr. Hummel's life,
          including educational, employment, medical, military, and Veterans
          Affairs records, as well as letters sent to Mr. Hummel by his mother Jackie
          Hummel and sister Neata Woody. In addition, I reviewed the testimony of
          witnesses presented by Mr. Hummel's trial counsel at the punishment
          phase of his capital trial. Finally, I reviewed affidavits collected from Mr.
          Hummel's post-conviction counsel. A list of the testimony and affidavits
          reviews is attached to this affidavit.
     7.   On March 7, 2013, I interviewed Mr. Hummel at the Polunsky Unit in
          Livingston, Texas. The· interview lasted approximately five hours. Mr.
          Hummel was cooperative and appeared to put forth his best effort in
                   .             .     I
          answermg my quest10ns.
Introduction

     8.   All of us are a product of our life expenences and social history.                   To
          understand how a person comes to take certain actions in life, one must


1
 Information from that interview is contained throughout this affidavit and cited to as "Interview
with John Hummel."


                                                2                                               212
                                           App. 0214                        EXHIBIT 2 Page 2
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                            •
                                                          Page 55 of 80 PageID 391



       look at what elements of his life were brought to bear on that decision.
       Often what appear to be unexplainable, irrational actions can be traced to
       life events that occurred in the person's past.        Erik Erikson's widely
       accepted theory of "identity development" posits that there are eight stages
       an individual goes through during their development. At each stage, there
       is a critical conflict, which requires a healthy resolution to create a new
       quality in self. For example, at infancy, the crisis is trust versus mistrust. A
       baby cries and, if its needs are attended to and it is nurtured, the baby
       leaves the stage of infancy having developed a sense of trust in its
       caregivers and in the world. If the baby is neglected, or needs are ignored,
       the baby moves into toddlerhood with a sense of fear and mistrust of
       caregivers and the world at large. Erikson's research suggests that trust and
       identity fonnation are the key ingredients to a healthy development of self
       and identity. (Erik Erikson, Identity and the Life Cycle, 1980)

  9.   This affidavit seeks to explore the areas in which John Hummel did not
       successfully resolve these developmental conflicts, nor did his parents or
       support system, thereby rendering him nearly incapable of forming close
       and intimate relationships, leading to a total inability to manage multiple
       stressors such as loss of income, multiple medical illnesses, and emotional
       stress/fatigue. When these multiple factors collided, John's limited abilities
       to empathize and problem solve were overshadowed by his inability to
       love and connect, resulting in a violent crime in which he was trying to
       escape a life he could not handle.

Early Development: Instability and Lack of Nurturing

  10. John Hummel was born on November 4, 1975 in Arlington, Texas. The
       Hummel family consisted of John, his father John Sr., his mother Jackie,


                                            3                                         213
                                    App. 0215                      EXHIBIT 2 Page 3
                     •
                    ~--.
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17      Page 56 of 80 PageID 392



     and his sister Neata. Neata is nine years older than John. When John was
     around three years old, his family moved to Pacolet, South Carolina. The
     Hummel family was following a traveling minister named Andrew
     Carrigan, who started the M01ning Star Baptist church in Pacolet. John's
     family moved onto a farm that was isolated from the rest of the town.
     (Affidavit of Thomas Hamilton.)
 11. John's parents were not a stable, supportive influence in his life. John Sr.
     was overly interested in guns and violence.         Jolm's uncle, Thomas
     Hamilton, remembers John Sr. taking green plastic army toy figures and
     shooting them with a .22 caliber rifle. He would then paint the figures red
     where the bullets had hit. John's father would also pour lighter fluid on ant
     piles and set them on fire. John's father would make John play war games
     with him even though John did not share his father's interest. John's father
     seemed more "wrapped up" in his own life rather than John's. (Affidavit
     of Thomas Hamilton.)        On at least some occasions, John's father
     physically abused him by hitting him with a belt or other object. (Affidavit
     of Derrick Parris.) John's father once threw him from a moving tractor, at
     approximately age 12. (Testimony ofMark Pack.)
 12. John's mother was also not a nurturing figure. Jackie Hummel did not
     show love and concern for her children. (Affidavit of Thomas Hamilton.)
     John's mother showed greater interest in her friends and their children than
     her own children.     Jackie Hummel was generous with other children,
     buying them clothes and toys. Even at Christmas, it appeared that Jackie
     was focused on others, not John or Neata. (Testimony of Christy Pack and
     Linda Pack.)
 13. Much of the early care and raising of John fell to his sister Neata, who was
     herself a nine-year-old child when John was born. Neata reports being the

                                       4                                         214
                                  App. 0216                   EXHIBIT 2 Page 4
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                       •
                                                      Page 57 of 80 PageID 393



     one who fed, changed, and generally cared for John as a baby. She also
     states that her parents left her alone to care for John for hours at a time.
     From all accounts, Neata was the only one paying attention to John's needs
     and acting as a parental figure. John reports that his sister Neata did most
     of the daily work in raising him. (Testimony ofNeata Woody; Interview of
     John Hummel.) However, a nine year old is not a mature enough caregiver
     to attend to the needs of a baby, both physical and emotional.
 14. Neata left home and moved to Texas when she was eighteen and John was
     mne. When this happened, John lost the person he was likely the closest
     too.
 15. About this same time, John's uncle Thomas Hamilton moved to South
     Carolina and lived with the Hummels for nearly six years. He remembers
     John as a timid and shy child. Hamilton took Neata's place as the person
     giving John any attention. (Affidavit of Thomas Hamilton.)
 16. Hamilton taught John how to hunt and fish, and played games with him.
     Often, they would not catch anything because John was so interested in
     talking to Hamilton. John liked playing games with his uncle because his
     uncle would not get angry if he lost, unlike John's father. (Affidavit of
     Thomas Hamilton.)
 17. Hamilton worried about John's social development because it did not seem
     like John got off the farm very often. John's parents never allowed him to
     socialize with other kids or families, with the exception of Jackie's friend
     Linda Pack and her children. To Hamilton, John seemed afraid to interact
     with people because he would fail in front of them and get picked on.
     (Affidavit of Thomas Hamilton; Interview of John Hummel.)
 18. John's daily routine consisted largely of attending school and church and
     helping out on the farm. Hamilton noted that John's parents did not seem

                                      5                                          215
                                 App. 0217                    EXHIBIT 2 Page 5
                    -·
                    ~-·

Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                        •
                                                      Page 58 of 80 PageID 394



     pay much attention to John while at the same time controlling his life.
     Their attitude toward John was "do your homework" and "stay out of our
     way." (Affidavit ofThomas Hamilton.)
 19. One of John's primary interactions with people outside his family was on
     Sundays, when the Pack family would come to dinner at the Hummel's
     house.   Derrick Parris, a Pack cousin and one of John's close friends
     growing up, remembers attending church at Morningside Baptist with the
     Hummels and then going nearly every Sunday for dinner at their house.
     But for Parris, it felt like the Hummels were "acting" like a family. Each
     week, they would prepare the same meal and play board games.
     (Affidavit of Derrick Parris.)
 20. Parris did not feel there was genuine love between John's family members.
     John's parents did not show much outward affection for their children.
     Christy Pack, who matTied John's friend Mark Pack and attended these
     Sunday dinners, did not remember seeing anyone in the Hummel family
     ever hug or kiss.or say "I love you." (Affidavit of Christy Pack; Affidavit
     of Derrick Parris.)

21. From his early life history, it is clear that John did not experience secure
     attachments in his childhood with his parents. The most important tenet of
     attachment theory is that an infant/child forms a secure bond with an adult
     caregiver who is responsive to its needs. It is believed, and supported by
     empirical evidence, that children who do not securely attach with an adult
     early in their social development grow up to experience attachment
     problems in adulthood, especially an extreme sensitivity to rejection.

22. In fact, John Bowlby (1960), one of the original researchers and
     attachment theorists, stated that infants in fact grieve and mourn when an


                                       6                                         216
                                  App. 0218                   EXHIBIT 2 Page 6
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 59 of 80 PageID 395



       appropriate maternal attachment is not formed. He also suggests that an
       inability to form close relationships is the result of the too frequent
       substitution of caregivers. This most certainly applies in John's case. Early
       in his infancy, his mother (a primary attachment figure) turned over the
       caregiving to his nine year old sister, who was not able to meet his physical
       and emotional needs, resulting in a very early and deep seated grief and
      longing, as well as the lack of a 'blueprint' for how to create intimacy and
      close relationships.

  23. As a child, John's needs were not consistently met, and emotional
      expression was not allowed in the horne. Appropriate caring relationships
      were not modeled.      Because of this, it appears that John never formed
      appropriate love relationships or became capable of adult attachments.
      This deficit would have serious impacts on his ability to form relationships
      throughout the rest of his life and his ability to relate and empathize with
      others. According to Social Learning Theory, the work of Albert Bandura,
      humans (especially children) learn social skills and behaviors almost
      entirely through observational modeling and imitating those skills. If
      emotional expression is. not allowed in the home-caring gestures are not
      displayed, the child is not allowed to form many friendships, and the child
      is not shown love by his parents-the 'act' of love is not something that
      has been modeled or taught and is therefore not possible to demonstrate.

Exposure to Abuse

  24. As a child, John also suffered some physical abuse by his parents, and he
      was exposed to abuse of others.
  25. Neata testified that both her parents hit her and John. (Testimony ofNeata
      Woody.)     John reports that his mother whipped his sister Neata with a


                                         7                                         217
                                   App. 0219                    EXHIBIT 2 Page 7
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17     Page 60 of 80 PageID 396



     metal hanger.    (Interview of John Hummel.)      This abuse is somewhat
     unsurprising, as John's mother Jackie had experienced physical abuse as a
     child.   Her father was very abusive to her mother.        Jackie's mother
     responded by hiding bottles of pepper juice and bleach to throw at him.
     One occasion of abuse ended with her mother shooting her father. Jackie's
     mother also hit her and her siblings to the point where they would cry for
     each other. {Affidavit of Thomas Hamilton.)
 26. Friends recall that John's father hit him on occaswns, sometimes with
     objects, when John would make mistakes. (Testimony of Derrick Parris.)
 27. In addition to physical abuse, there are signs that John was exposed to
     inappropriate sexual conduct, possibly rising to abuse. John's father had
     been caught having multiple sexual affairs, which may have been another
     reason the family relocated to South Carolina. These affairs did not end
         '
     his parents' marriage, though, and the behavior did not stop.        John's
     friends saw John's father act inappropriately with women. (Testimony of
     Derrick Parris.) Neata once came upon her father receiving oral sex from a
     female member of their church.          (Affidavit of Thomas Hamilton;
     Testimony ofNeata Woody.)
28. In addition to his affairs,- there are signs that John's father may have
     sexually abused Neata. Neata left home at the age of seventeen, and at
     least one person reported hearing Neata admit that her father sexually
     abused her. Others report that Jackie showed feelings of hatred for Neata.
     Neata would frequently leave home and go to the Pack family's house.
     (Affidavit of Derrick Parris.)
29. Further, Neata has exhibited strange behavior toward John, suggesting that
     she may also have transferred her abuse into abuse of John. In letters from
     Neata to John, she often references secrets kept between only the two of


                                      8                                         218
                                  App. 0220                  EXHIBIT 2 Page 8
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                       •
                                                      Page 61 of 80 PageID 397



      them, and she specifically states that her mother was tested for dementia
      and the results were clear. Neata says, "that means she does remember.
      When she laughs and tells me it never happened. No wonder things are so
      messed up, like us." (Letters from Neata Woody to John Hummel.)

 30. Physical abuse can have obvious immediate as well as long term physical
      consequences for a child such as shaken baby syndrome and impaired
      brain development in extreme cases. However, there are also significant
     long term consequences of physical abuse, consequences which manifest
     psychologically and behaviorally. According to one longitudinal study,
     80o/o of adults who had been physically abused as children met the
     diagnostic criteria for at least one psychiatric disorder by age 21.
     (Silverman, · Reinherz, & Giaconia, 1996). Other psychological and
     emotional conditions associated with abuse and neglect include panic
     disorder, dissociative disorders, attention-deficit/hyperactivity disorder,
     depression, anger, posttraumatic stress disorder, and reactive attachment
     disorder (Teicher, 2000; De Bellis & Thomas, 2003; Springer, Sheridan,
     Kuo, & Carnes, 2007).

 31. It has not been confirmed that John experienced any sexual abuse directly.
     Witnesses have said that John's father was known for promiscuity in extra
     marital affairs, and some have alluded to suspicions of sexual abuse of
     John's sister Neata. Neata does not confirm this, but has reported
     witnessing her father engaged in sexual acts with other women. If John
     was in fact exposed to sexual abuse, even indirectly, there are long term
     consequences associated. A child's exposure to overly mature sexual
     content or a child's direct experience with sexual abuse can interrupt
     attachment pattetns as well as create disturbances in the creation of a true


                                      9                                         219
                                 App. 0221                   EXHIBIT 2 Page 9
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17

                                                         •
                                                       Page 62 of 80 PageID 398



       identity or sense of self. The necessary components m establishing a
      positive identity include love, attention, nurturing, affection, intimacy,
      autonomy, power, and control. The experience of abuse or neglect impacts
      each of these areas. An abusive experience affects the child's identity, how
      the child behaves in order to have his/her needs met, and how the child
      responds and interacts with other people. (US Department of Health and
      Human Services, Urquiza and Winn, 1994). According to a National
      Institute of Justice study, abused and neglected children were 11 times
      more likely to be arrested for criminal behavior as a juvenile, 2. 7 times
      more likely to be arrested for violent and criminal behavior as an adult, and
      3.1 times more likely to be arrested for one of many forms of violent crime
      (juvenile or adult) (English, Widom, & Brandford, 2004).

Formative Years: Continued Lack of Support and Attachment

  32. John's social development was impaired early on by the geographic
      isolation he experienced growing up on the farm where his family lived.
      Because the farm was in a remote, rural area, John was naturally separated
      from many of his peers. (Affidavit of Brian Jeter.) Even more, though,
      John's parents strictly limited when John could leave the farm and whether
      other people could visit him. (Affidavit of Christy Pack.)
  33. Even when visitors were allowed, such as the weekly Pack family Sunday
      dinners, John would isolate himself.     Christy Pack remembers John as
      quiet, seeming to prefer retreating to his bedroom to play rather than
      staying with the group. (Testimony of Christy Pack.)
  34. The year Neata left, John lost the person who was most nurturing to him.
      It does not appear that his parents changed their behavior to start raising
      him. Neither parent took an interest in John's education, despite the fact


                                       10                                         220
                                  App. 0222                   EXHIBIT 2 Page 10
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17     Page 63 of 80 PageID 399



      that John was struggling. As a result, John was required to repeat the
      fourth grade that year. It took his uncle moving to South Carolina for John
     to regain a support figure in his life.     (Interview with John Hummel;
     Hummel school records; Affidavit ofThomas Hamilton.)
 35. In school, John struggled with a serious learning impairment because of
      dyslexia. (Affidavit ofHaila Adams.) His school records (and later testing
     by the military) indicate that John's intellect was average to above average.
     However, his disability meant he had a hard time spelling and writing,
     which made it difficult to succeed in his classwork.
 36. In high school, John was enrolled in a special education resource class to
     address his learning problems. John almost was not allowed to graduate
     high school, taking the exit exam's writing portion four times. On his
     fourth attempt, John was given an alternative scoring to account for his
     deficits in spelling and grammar.     Only then was he able to pass and
     graduate. (Testimony of Tommy Stribble; Testimony ofHaila Adams.)
 37. His special education teacher, Haila Adams, felt like John "blended into
     the woodwork" in class, rarely engaging and often trying to avoid
     attention. Adams was unsure whether John had many or any friends, as
     most other children did not interact with John. John never acted out; he
     just seemed lonely. (Affidavit ofHaila Adams.)
 38. John was frequently teased and bullied by other school children, including
     those he considered his friends. They saw him as slow and an oaf. John
     was teased and bullied because he was unable to write or spell well.
     (Affidavit of Chad Brown.) Kids would call him "Bacon," a nickname
     John hated, because of the way he smelled. His family heated their home
     with a wood-burning stove, which made his clothes smell. (Affidavit of
     Thomas Hamilton; Affidavit of Derrick Parris.) But John was not good at

                                      11                                         221
                                 App. 0223                   EXHIBIT 2 Page 11
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17      Page 64 of 80 PageID 400



     confrontation. When teased, John would back down, not saying anything,
     holding in his emotions. (Affidavit of Shana Fowler.)
 39. John struggled in his ability to interact with his peers. Friends report that
     John would jump into a conversation with comments that were immature
     or not relevant. He would say random things that did not make sense to
     others, but that he thought were funny.          For example, one friend
     remembers John saying the word "corn" like it was a catchphrase. When
     asked, John could not explain why he said it or why he thought it was
     funny. (Affidavit of Chad Brown.)
 40. John did not dress appropriately to his peers. This may have been because
     his family did not have the means to give him new clothes, or because John
     was struggling to express his individuality.        Friends remember him
     wearing things like bedroom slippers (which John called "moccasins"),
     cargo pants, trench coats, and shirts with pictures of dragons-often all at
     once. (Affidavit of Chad Brown; Affidavit of Derrick Parris.)
 41. John was easily influenced by his peers.      He was eager to please and
     wanted to be liked. Friends would take advantage of John because he was
     easy to manipulate. They would have John buy things, like video games or
     a PlayStation console, telling John he would be "cool" if he did. They had
     John drive them around because he had a car. One friend, Chad Brown,
     has said that John seemed to like the responsibility and that he thought
     John was trying to have deeper connections and closer friendships with
     people.    But Brown reports that despite John's efforts these deeper
     connections never seemed to materialized for John. (Affidavit of Chad
     Brown; Affidavit of Derrick Parris.)
42. Many of the people who spent time with John in high school came to have
     widely disparate impressions of John. For example, some friends viewed


                                      12                                        222
                                  App. 0224                  EXHIBIT 2 Page 12
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                         •
                                                       Page 65 of 80 PageID 401



      John as athletic, playing sports often with them. (Affidavit of Brian Jeter;
      Affidavit of Joseph Paterson.) Others thought John was overweight, not
      athletic, and only interested in video games. (Affidavit of Shana Fowler;
      Affidavit of Hail a Adams; Testimony of Derrick Parris). Some saw him as
      the class clown, friendly to everyone.     (Affidavit of Joseph Paterson.)
      Others remember John as someone who was quiet and kept to himself,
      doing anything he could to avoid attention. (Affidavit of Shana Fowler;
      Affidavit of Christy Pack; Affidavit ofHaila Adams.)

 43. From John's interactions with others during his formative years, it is
      apparent that he continued to be unable to properly attach and form
      positive, supportive relationships.   Even those he considered his close
      friends would tease and manipulate him.       Because John never formed
      secure attachments, he also never formed a solid sense of self. Identity is
     built around emotional development and relationships with others .. Again,
     referencing Erik Erikson's well documented theory of psychosocial
     development, the crises John should have been negotiating ages six to
     eleven were Industry versus Inferiority. If a child succeeds academically,
     feels competent and supported, they exit this stage in a state of Industry. In
     John's case, he was neglected and abused by parents, his school work was
     suffering, and he did not feel socially or academically competent in the
     least bit. Instead he entered pre-adolescence in a state of total inferiority
     withoutsocial supports or parental love and connection.

 44. John's identity in the eyes of others was unclear. John's friends and family
     report different 'versions' of John. What's more, John's identity in his own
     eyes also seems unclear. He describes himself as a loner and isolated,
     without any attachments or interesting relationships. As will be discussed,


                                      13                                         223
                                  App. 0225                   EXHIBIT 2 Page 13
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17      Page 66 of 80 PageID 402



       he became fairly obsessed with role playing games in which he creates
       multiple characters, and often times had trouble letting go of those
       characters.

   45. The next stage in Erikson's psychosocial development theory is Identity
       versus   Role     Confusion.    A young    person   successfully   navigates
       adolescence by establishing ari identity-defined by individuation and
       unique qualities, but also by connection to groups and associations with
       others-therefore entering adulthood with a solid sense of self. A young
       person not completing this stage successfully, as it is clear John did not,
       enters adulthood confused, extremely sensitive to rejection, and with a
       weak or non-existent sense of self.

  46. John did not appropriately develop socially, academically, or emotionally.
       It appears he instinctually kept trying to reach out and connect, but all he
       received in return was continuous abuse, neglect, bullying, or confusion.
       He was never successful in any relationships, and even his close friends
       found him odd or off-putting. This lack of connection, but basic human
       desire to connect, is extremely frustrating, potentially rage building. In my
       opinion, John did not understand how to succeed in relationships, yet
       desperately wished to please others.

Early Adulthood: Escapism, Failure, and Rejection

  47. As a young adult, John did not appear to have any goals or ambitions.
       During high school, John worked part-time at a local Hardee's fast-food
       restaurant.     (Hummel social security records.)      Friends did not see
       particular encouragement from John's family to make plans for the future.
       (Affidavit of Chad Brown.) John began to be focused on movies, video
       games, and role-playing games, such as Dungeons and Dragons.

                                         14                                       224
                                      App. 0226                EXHIBIT 2 Page 14
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                        •
                                                      Page 67 of 80 PageID 403



      (Affidavit of Chad Brown; Affidavit of Derrick Parris.)         One of his
     teachers, Haila Adams, noticed these games were one of the few things
     John ever was excited about. She felt that John played these games as a
     way to escape his real life. (Affidavit ofHaila Adams.)
 48. In role-playing games, players design a character representing an
     individual in an imaginary setting.    These characters may have special
     skills or powers, such as the ability to use magic spells or communicate
     with animals. Game play is performed through the verbal impersonation
     of the characters by the players. Characters interact with each other, and
     with the fictional setting's inhabitants, to solve problems, have battles, or
     gather treasure, with the players using dice to randomly determine event
     outcomes.   Over time, characters gain experience "points" and become
     more powerful.
 49. Usually, a player will keep a character for several months. However, John
     had difficulty keeping up with the characters he created. John liked to play
     more advanced characters that required remembering complex infonnation
     in order to be successful. John created characters that were too complex
     for him to mentally keep up with. Because of this either his game would
     have poor results or he would have to abandon his character. (Affidavit of
     Chad Brown.)
 50. Most players also usually played only one character. John would play two
     or three characters at the same time. John would also change his characters
     based on what his friends were doing in the game. When other players
     were successful, John would mimic the actions of the other players to
     make his characters better. (Affidavit of Chad Brown.)
 51. John had trouble separating himself from these role-playing games. He
     would frequently carry the game pieces with him. In conversations with

                                      15                                        225
                                 App. 0227                    EXHIBIT 2 Page 15
                     •
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                         •
                                                      Page 68 of 80 PageID 404



      friends, John would attempt to get the subject always back to the games
     they were playing. One friend remembers a time that their group took a
     break from playing to go somewhere. While driving, John pulled out the
     dice and wanted to continue playing. The others had to stop John and tell
     him to focus on the road and what was going on around him. (Affidavit of
     Chad Brown.)
 52. John also did not always seem to know where the line was between reality
     and the game. A friend remembers playing the video game "Zelda" with
     John and other friends. The person playing had his character stab someone
     in the game, saying "I bet that hurt." John took a knife and poked him in
     the shoulder. Though he got in trouble, John did not seem to know what
     he had done wrong. (Affidavit of Derrick Parris.)
 53. John brought this to bear on his relationships with others as well. He dated
     a woman named Stephanie Bennett during his senior year of high school.
     Bennett was one year younger than John. They started their relationship
     by talking often over the phone after a mutual friend introduced them.
     Before they had ever met in person, John told Bennett that he was falling
     in love with her. Bennett thought this was strange, but continued to date
     him. (Affidavit of Stephanie Bennett.)
 54. Once in this relationship, John started becoming overly attached.        He
     became close to Bennett's family. He started going to her church, instead
     of with his own family.      He even started to eat Sunday dinner with
     Bennett's family rather than his own. Bennett remembers that John spent
     most holidays at her house. (Affidavit of Stephanie Bennett.)
 55. After a short while, John started talking to Bennett about their future
     together. He wanted to plan everything out about their future. To Bennett,
     it was like the idea that they were going to get married was a "done deal"

                                      16                                       226
                                 App. 0228                   EXHIBIT 2 Page 16
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 69 of 80 PageID 405



      in John's mind. Yet at this same time, Bennett started pulling away from
     John. John did not seem to realize at all, thinking everything was fine.
     Ultimately, Bennett broke off their relationship. John was surprised and
     upset. (Affidavit of Stephanie Bennett.)

 56. Once again, John's inability to attach left him feeling alone, angry, left out,
     and frustrated. He tried to escape through role playing games, but this only
     served to further alienate him from his friends who believed that even the
     way he played the games was odd and off-putting. He could not succeed
     even in the game, contributing to feelings of rejection and failure and an
     urge to escape. This loneliness, rejection, and need to escape only further
     served to limit his social skills and keep him disconnected from others.
     This cycle became a self-fulfilling prophecy-his fears of not being able to
     connect and therefore being rejected, led to his odd behavior, bullying, and
     a further and further sense of isolation. This isolation continued to inhibit a
     healthy development of self.
 Graduation: Failed Independence
 57. On June 2, 1995, John graduated from Jonesville High School. (Hummel
     school records.) He quit his part-time job at the Hardee's and began work
     at a warehouse for BMG Music. John moved out of his parents' home and
     got an apartment of his own. (Interview with John Hummel.)
 58. John's friends would come to his apartment because he was older and they
     were still in high school. They would bring girls over with them and hang .
     out. John started drinking and going to bars. John even had a long-term
     relationship with a woman named Jennifer Wood. (Affidavit of Derrick
     Parris.)




                                       17                                         227
                                    App. 0229                  EXHIBIT 2 Page 17
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 70 of 80 PageID 406



   59. After two years of living on his own, however, John struggled to pay his
       bills and live independently as an adult. Then one day, he and Jennifer
       arrived at his apartment just in time to interrupt a break-in.     Although
       nothing was taken, John's parents insisted he move back to their house.
       John decided rather than live at home again, he would join the Marine
       Corps. (Interview with John Hummel.)

   60. Once again, John's relationship failed and his ability to live on his own and
       support himself adequately failed. Rather than go back to his parent's
       house where he felt he would be miserable and yet again dependent on his
       controlling and unloving parents, he again escaped from his current life,
       "wiped the board clean" and joined the Marines.

Military Career: Opportunity for Success

  61. John enlisted in the Marine Corps on September 26, 1997.            John was
       initially assigned to combat support, but part way through basic training
       John was identified as having a sufficient aptitude to qualify for work as an
       intelligence specialist.   For the next year, John went back and forth
       between various Marine trainings and spending time back in South
       Carolina. In late 1998, John was stationed at Camp Pendleton, California.
       (Interview with John Hummel; Hummel military records.)
  62. Unlike prior to joining the military, John initially succeeded and thrived in
       the military. John's commanders felt John was a very competent Marine
       who did solid work.        They never felt he gave his commanders any
       problems. Friends remember John as dependable, quiet, and laid back.
       John stayed out of trouble, even when friends would get into altercations.
       (Affidavit ofEfrain Chaidez.)




                                        18                                        228
                                    App. 0230                   EXHIBIT 2 Page 18
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17     Page 71 of 80 PageID 407



 63. At Camp Pendleton, John became particularly close to three men- Wayne
      "Buddy" Matthias, Fred Emmer, and Efrain Chaidez. John and Mathias
      were roommates and both worked in the intelligence branch. Matthias had
      been at Camp Pendleton for about a year before John arrived and already
      had a group of friends. Matthias brought John into the group when he
      arrived. (Affidavit of Wayne Matthias.)
 64. The four friends (John, Matthias, Emmer and Chaidez) had very different
      personalities and backgrounds when they first connected, but they became
      very close, even forming a new identity together. Chaidez was from inner-
      city Chicago where he had been involved in a gang. He recognized in John
      the same desire he had to make a new life in the military. He felt John was
      trying to escape his life in rural South Carolina.    (Affidavit of Efrain
      Chaidez.)
 65. The four friends spent most of their time together, hanging out daily and
      spending almost all their weekends together. Matthias noticed that John
     started to copy many of the behaviors of him and Emmer. He started
     wearing the same types of clothes and getting tattoos. He even started
     emulating some of Matthias's mannerisms. Matthias had to talk to John
     about being his own person and that he should not copy his friends.
     (Affidavit of Wayne Matthias.)
 66. John and his friends spent a lot of time playing games, drinking, and going
     to strip clubs. John began to gravitate to strip clubs even more than the
     others. Mathias remembers John going to these clubs almost every night.
     John became friendly with the staff and the strippers. Emmer does not
     remember John ever dating anyone or having relationships with women
     other than interacting with strippers.     Chaidez recalls that John would
     especially try to show the women that he cared about them by asking to

                                      19                                       229
                                 App. 0231                   EXHIBIT 2 Page 19
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                         i
                                                       Page 72 of 80 PageID 408



      escort them to their cars. He even stood up to other men if he thought they
      were mistreating the women. John became so attached that he talked about
      opening up his own strip club. (Affidavit of Wayne Mathias; Affidavit of
      Efrain Chaidez; Affidavit of Fred Emmer.)
 67. John continued to be interested in playing role-playing games like
      Dungeons and Dragons.       His friends noted that he was interested in
      fantasy, to an extent that was more than usual. To them it seemed like
      John was dodging real life. (Affidavit of Wayne Mathias; Affidavit of
      Fred Emmer.)
 68. In his role as an intelligence specialist, John had a security clearance to
     receive sensitive information. He would be told about enemy movements,
      make reports and maps reflecting this information, and then communicate
     that information to his commanders. He built terrain models of the areas
     his fellow Marines would operate in. He enjoyed this job, and said it
     reminded him of playing role playing games.             (Interview with John
     Hummel.)
 69. John felt fulfilled by this work, it gave him a chance to play those role
     playing games, but in real life. His basic needs were attended to, he made a
     living, he felt connected, and the military provided a strong structure and
     discipline that he could not create on his own. In the military, similar to in
     prison, most decisions are made for you. There is a uniform, a chain of
     command, expected behavior, clear expectations, and clear feedback.
 70. When John would return home to South Carolina on leave, his friends
     noticed a change in him. They saw that John was more fit and in shape
     physically. John seemed happy and proud. Chad Brown remembers John
     riding in a car with friends during one leave when the subject of the
     Monica Lewinsky scandal came up. John got very serious and told the

                                      20                                         230
                                  App. 0232                   EXHIBIT 2 Page 20
                                                          •
                                                          ~-·
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 73 of 80 PageID 409



       group "that's my commander-in-chief you are talking about." Brown was
       impressed by the seriousness and loyalty John expressed. (Affidavit of
       Chad Brown,)
   71. As the first period of his life where John experienced relative success, both
       in being recognized for his abilities and in forming close friendship bonds,
       John would have particularly tied his sense of self to this time in his life.
       Even this success was moderated by his past: his copying of his friends
       shows a lack of clear sense of self or identity; and he continued to rely on
       finding fulfillment in fantasy. This time in war games rather than video
       games or role-playing games. John exhibited a need to connect to others,
       without the actual capacity to do so in an appropriate or effective manner.
       Yet, he was able to form some bonds and find his place and an identity.
Military Career: Return to Failure
  72. Not everything was positive for John, though, in the Marines. During his
       trips home, he would no longer exercise and would eat junk food. Over
       time, this meant that he gained significant weight and lost some of his
       fitness. He constantly struggled to meet the physical requirements of the
       Marines. (Interview of John Hummel.)
  73. Upon his return, this weight gain made him a target of teasing and even
       some bullying by other members of his unit. His friends noticed that he
       was overweight, and even poked fun at him sometimes. Chaidez recalls
       that John particularly got a hard time from some of his commanding
       sergeants. John was assigned to a "Weight Control" program during his
       first deployment overseas in late 1999.     (Affidavit of Wayne Matthias;
       Affidavit of Efrain Chaidez; Affidavit of Fred Emmer; Hummel military
       records.)



                                        21                                          231
                                    App. 0233                   EXHIBIT 2 Page 21
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                          i
                                                        Page 74 of 80 PageID 410



 74. Unfortunately for John, just as this struggle was reaching its worst, his
     friends and support in the military were transferred away.           Matthias,
     Emmer, and Chaidez were all transferred away or discharged in early
     2000. The friends went their separate ways, while John remained behind at
     Camp Pendleton to finish another two years of service.           (Affidavit of
     Wayne Matthias; Affidavit ofEfrain Chaidez; Affidavit of Fred Emmer.)
 75. Looking back, John's friends see that time as a point when John lost his
     support system. Chaidez believes John needed more attention paid to him,
     particularly because of his weight struggles. John s·eemed to be struggling
     and did not have "tough" enough "skin" to get through it. (Affidavit of
     Efi·ain Chaidez.)
76. Shortly after their discharge, Mathias and Emmer learned that John was not
     doing well and had changed in demeanor. In May of 2000, they got a call
     from John. John had planned on going AWOL, but had only gotten as far
     as Arizona when his truck broke down. Mathias and Emmer drove out to
     Arizona and brought John and the truck back to California. They could tell
     John was stressed and depressed. John told them he was having a hard
     time because he no longer had a support network. (Affidavit of Wayne
     Mathias; Affidavit of Fred Emmer.)
77. For John, it was compounded that he was bullied and overweight, felt like
     a failure in the only job he had ever been successful at, and lost his only
     friends, all at the same time. This was a significant loss for John, especially
     since he had struggled so much to form any meaningful relationships at all
     and had finally felt he was competent and successful, proud and happy-
     only to have it all start to unravel.
78. Because John retmned to base in a short time, he was only given a minor
     reprimand and fine. However, his new commanders took action to revoke

                                        22                                         232
                                    App. 0234                  EXHIBIT 2 Page 22
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17    Page 75 of 80 PageID 411



     John's security clearance.    Without that security clearance, he was no
     longer eligible to work as an intelligence specialist. Instead, John was
     given mundane and custodial jobs, such as moving cargo on and off ships
     or setting up command tents.     (Interview with John Hummel; Hummel
     military records.)
 79. The loss was compounded to an even greater degree as John lost his
     intelligence job and security clearance, knew his supenors were
     disappointed in him and felt they could not trust him, and was relegated to
     mundane work and feeling a very strong sense of rejection and failure.
 80. John continued going to strip clubs, frequently by himself. He met and
     began spending time with a group of homeless young adults who lived in
     Oceanside, California near the military base.    John would buy the kids
     food, take them to movies, and rent them hotel rooms to stay in. John even
     dated some of the women in the group. (Interview with John Hummel.)
 81. Once again, John made an attempt to connect and to feel useful. He likely
     was being used by this group of homeless individuals, who only wanted to
     hang around him so he would buy things or do things for them (similar to
     his "friends" in high school). This is again not a meaningful connection,
     but another misguided attempt at real connection.
 82. A few months before John was to be discharged, he began a relationship
     with a twenty-year-old homeless woman name Letti Ulbright. Ulbright
     was pregnant at the time, though John was not the father. Hummel and
     Ulbright decided that she would come back to South Carolina with John
     and they would be a family. (Testimony ofLetti Hubertz.)
 83. In April 2002, John was sent back to South Carolina to attend separation
     classes and be discharged from the Marines.         As he got closer to his
     discharge, John's high school friends noticed that John started to lose the


                                     23                                       233
                                  App. 0235                  EXHIBIT 2 Page 23
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17       Page 76 of 80 PageID 412



       confidence and assertiveness he had developed at the early stages of his
       military service. He physically became less fit and stopped exercising.
       John was no longer proud and jovial, but instead· was described as
       brooding. He attended only one day of separation classes and then stopped
       going, ending his military career with a reprimand for an Unauthorized
       Absence. (Hummel military records; Affidavit of Chad Brown.)

Return to South Carolina: Repeating Patterns of Failure and Escape

  84. Once back in South Carolina as a civilian, John and Ulbright moved in
       with John's parents and John got a job at the Kohler factory with his father,
       glazing toilets and sinks. After a few months, Jolm and Ulbright moved to
       their own mobile home.       John worked the night shift and no longer
       frequented strip clubs or bars. They were like a family, spending time with
       John's parents and John's sister Neata who was living in South Carolina
       again. (Testimony ofLetti Hubertz.)
  85. This might have represented a new life for John, a new chance at success.
       Even though he was spending time with his parents and working for his
       father, he was in the role of "man of the house" and trying to do the right
      thing by a woman in need, even though he was not the baby's father. In my
       opinion, this was another attempt by Jolm at connection and an effort at
       being in the role he thought he was supposed to have-that of a provider.
  86. In September 2002, Ulbright gave birth to a baby boy. Two weeks after
      the baby was born, Jolm's sister Neata convinced John that Ulbright was
      not good for him and he should break off the relationship. One day while
      John was at work, Neata took Ulbright to a bus station and gave her a
      ticket to California and a letter Neata said was from John saying he was not
      ready to be a father. The letter said John had left for Texas, although he


                                        24                                        234
                                   App. 0236                   EXHIBIT 2 Page 24
                     •
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                         •
                                                        Page 77 of 80 PageID 413



      had not. When Ulbright looked at the ticket, she noticed that it had been
      purchased two weeks before. · (Testimony of Letti Hubertz; Testimony of
     Neata Woody.)
 87. Once again, John's attachments and relationships were severed. Neata's
     involvement in orchestrating Letti's departure shows her role as more of a
     maternal than sibling figure to John, and also demonstrates an over
     involvement and inappropriate role with John. The episode would have
     further cemented John's negative experience with family attachments,
     creating hostility and sensitivity. It also continued a pattern that led John
     to desire escape from his cunent life situation.
 88. After Ulbright left South Carolina, John quit his job at Kohler. For the
     next year, John changed jobs often, working at a cigarette warehouse, a
     temporary security agency, and a Cracker Barrel restaurant.        (Hummel
     social security records.)
 89. John also reverted back to spending most of his time and money drinking,
     smoking, and frequenting strip clubs.          John's high school friends
     remembered that prior to the military, John never smoked or drank, having
     seen his father suffer a heart attack from smoking. Now, John smoked
     both tobacco and marijuana, and drank frequently. His trips to strip clubs
     became "more like a way of life for him." John went to strip clubs "almost
     every night."    (Affidavit of Chad Brown; Affidavit of Derrick Pan-is;
     Affidavit of Joseph Patterson.)
 90. John's friends saw a different John than the person who they had grown up
     with. He wore black clothing, a trench coat, and goth-style rings. John
     listened to harder music than before. (Affidavit of Chad Brown.)
 91. John replaced his interest in playing Dungeons and Dragons with trips to
     see strippers. John seemed to think the attention he received from women

                                       25                                       235
                                  App. 0237                   EXHIBIT 2 Page 25
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                         •
                                                        Page 78 of 80 PageID 414



      at the clubs was real. He acted like the women were his girlfriends. His
      friends explained to John the girls were just working, and often the women
      would give him fake phone numbers, but John would continue to talk
      about the women like they wanted to have relationships with him. To his
      friends, John seemed to   ~e   living in a fantasy world. (Affidavit of Chad
      Brown; Affidavit of Derrick Parris.)
 92. At this point, John was becoming less and less connected to reality. His
      propensity for role playing games as an escape from reality turned into
      creating fictional relationships in real life. This is another indication of
     poor social skills, and an inability to read people accurately, as well as a
     true need for connection and closeness but an inability to form those
     relationships.
 93. As time went on, John was clearly struggli1fg. One friend from school that
     he became romantically involved with remembers John as drifting in and
     out of her life. They would hang out and then she would not hear from
     him for a while.      Then he would suddenly show up at her house
     unannounced. He did not seem to have any goals or plans, or significant
     relationships. (Affidavit of Shana Fowler.)
 94. In late 2003, John left his hometown and moved to another town in South
     Carolina without telling his friends.      After a few days of absence, his
     friends asked John's parents where John was and discovered he had left
     without saying anything to anyone. (Affidavit of Chad Brown.)
 95. John briefly moved in with a stripper and her boyfriend. However, the
     couple had not paid their rent and soon they were being evicted. Facing
     moving back with his parents, John chose instead to move to Texas and
     live with his cousin, Michael. (Interview with John Hummel.)



                                        26                                      236
                                     App. 0238                EXHIBIT 2 Page 26
 Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17
                                                        •
                                                       Page 79 of 80 PageID 415



   96. John left South Carolina and moved to Texas with little or no warning to
       any of his friends. He spoke to one friend about moving, but did not have
       any definite plans or purpose. She remembers that one night John gave her
       son some collectible figurines that she knew John loved. She thought it
       was strange for him to give those up. That was the last time she saw John.
       (Affidavit of Shana Fowler.)

   97. Once again, when faced with failure and his own inability to live
       independently in relationship to others, John "wiped the board clean,"
       abandoning all his friendships and moving away unexpectedly.          This
       impulsive conduct fell squarely within the patterns of behavior John had
       developed over the course of his life whereby he reacted to stress by
       escaping and attempting to start a new life, a new identity, functionally a
       "new game." In Erikson's theory of development the crisis to be resolved
       during adulthood (age 19-40) is Intimacy vs. Isolation. John clearly was
       suffering and not able to form intimate connections, leading to more and
       more of a sense of loneliness and isolation.

Life in Texas: Repeating the Pattern of Failure and Need to Escape

  98. Soon after arriving in Texas, John's cousin introduced him to Joy Bedford.
       John and Joy had a short romance before Joy became pregnant around
       November 2003. The couple manied in February 2004 and their daughter
       Jodi was born that summer on July 17, 2004.         (Interview with John
       Hummel.)
  99. Around the same time John married Joy, John got a job at the warehouse of
       clothing company Williamson Dickey. After a year of relative stability,
       however, John tripped over a box at work in May 2005. John's back was




                                        27                                      237
                                    App. 0239                 EXHIBIT 2 Page 27
Case 4:16-cv-00133-O Document 13-2 Filed 02/04/17     Page 80 of 80 PageID 416



     injured in the fall, putting John on worker's compensation.       (Hummel
     Employment Records.)
 100. Over the next several years, John struggled with medical problems that
     prevented him from working. He received multiple surgeries for his back
     injury, but continued to experience significant pain from the injury. John
     applied for but was denied Social Security disability benefits in late 2006.
     (Hummel Medical Records.)
 101. Around this same time, however, doctors diagnosed John with Crohn's
     disease, a type of inflammatory bowel disease that causes intense
     abdominal pain, chronic diarrhea, rectal bleeding, and vomiting. John's
     case was severe enough to require surgery, and a significant portion of his
     large intestine was removed. For a time, John was required to wear a
     colostomy bag. John also had to eat a special diet. (Hummel Medical
     Records; Interview with John Hummel; Affidavit of Christopher Paris.)
     Crohn's Disease is extremely limiting and can have very serious
     complications. Sufferers begin to associate eating with fear of intense
     abdominal pain. The frequent attacks of diarrhea and the continuous use of
     a colostomy bag can create humiliation, social isolation, and low self-
     esteem (New York Times, In Depth Report).
 102.Because of Jolm's medical problems and inability to work, John's family
     began to struggle financially.   George Goodson, one of the Hummels'
     neighbors, remembers helping John's family move into Joy's father's
     home when their financial situation was particularly bad. Goodson gave
     John a computer to help them out and sold the Hummels one of his cars.
     He also remembers John asking for help getting VA medical benefits set
     up. Joy worked as a massage therapist and Goodson would occasionally
     get massages from Joy. During those massages, he remembers Joy talking

                                      28                                       238
                                 App. 0240                  EXHIBIT 2 Page 28
